     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 1 of 185
                                                                         1




 1                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 2

 3    ______________________________________
 4    UNITED STATES OF AMERICA,             )
                                            )
 5            Plaintiff,                    )
                                            )
 6        v.                                )          Criminal Action No.
                                            )          1:22-cr-10038-IT
 7    ARIEL LEGASSA,                        )
                                            )
 8            Defendant.                    )
                                            )
 9    ______________________________________
10

11           BEFORE THE HONORABLE INDIRA TALWANI, DISTRICT JUDGE
12
                                 JURY TRIAL - DAY 3
13

14
                            Wednesday, November 1, 2023
15                                   8:35 a.m.
16

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18

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20
      John J. Moakley United States Courthouse
21    Courtroom No. 9
      One Courthouse Way
22    Boston, Massachusetts
23
      Robert W. Paschal, RMR, CRR
24    Official Court Reporter
      rwp.reporter@gmail.com
25
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 2 of 185
                                                                       2




 1                            A P P E A R A N C E S
 2
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     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 3 of 185
                                                                          3




 1                               TABLE OF CONTENTS
 2

 3                                 TRIAL WITNESSES
 4

 5    On behalf of the Government:                                     Page
 6     RAYMOND GUILBAULT
 7              By Mr. Saltzman                                         12
 8     SAVANNAH REININK
 9              By Ms. Queenin                                          25
10     FRANK SCATURCHIO
11              By Mr. Saltzman                                         28
12     NANCY NICOLESCU
13              By Ms. Queenin                                          33
14     MAMEK CHAREPOO
15              By Ms. Queenin                                          40
16     BRADFORD CAMPEAU-LAURION
17              By Mr. Saltzman                                         54
18              By Mr. Parker                                           80
19     LEATHA FISHER
20              By Ms. Queenin                                          84
21              By Mr. Parker                                          119
22              By Ms. Queenin                                         139
23     PAUL KING
24              By Mr. Saltzman                                        140
25
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 4 of 185
                                                                              4




 1

 2                                     EXHIBITS
 3                                                                     Admitted
 4     Number 41, 43, 44, and 45                                            46
 5     Number 42                                                            42
 6     Number 48                                                            30
 7     Number 81                                                            27
 8     Number 82                                                            89
 9     Number 83                                                            92
10     Number 85                                                            98
11     Number 87, 90 and 91, 100–102, 106, 109–111, and                    115
12     113
13     Number 88                                                           103
14     Number 89                                                           104
15     Number 93– 95 and 103, 107, 112, 114, and 115                       108
16     Number 98                                                           113
17     Number 121                                                           36
18     Number 122                                                          150
19     Number 123                                                          152
20     Number 126                                                          156
21     Number 127                                                          164
22     Number 129                                                          168
23     Number 130                                                          170
24     Number 131                                                          176
25     Number 148                                                           57
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 5 of 185
                                                                        5




 1     Number 149                                                      59
 2     Number 150                                                      61
 3     Number 151                                                      65
 4     Number 173                                                      67
 5

 6

 7

 8

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     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 6 of 185
                                                                       6




 1                            P R O C E E D I N G S
 2                (In open court at 8:35 a.m.)
 3                THE COURT: Good morning.
 4                MR. SALTZMAN: Good morning, Your Honor.
 5                THE COURT: I understood something from the
 6    government?
 7                MS. QUEENIN: Yeah, Your Honor, we're just looking
 8    for some clarity as to like scheduling, when Your Honor is
 9    envisioning doing a charge conference. We anticipate that we
10    will rest tomorrow morning.
11                THE COURT: Wow.
12                MS. QUEENIN: And so for our prep purposes, we're
13    trying to figure out whether we should be ready to close
14    tomorrow, and I think your preference is, if we rest tomorrow
15    morning, and there are no defense witnesses, we would like to
16    go on to closings. But I don't know, from Mr. Parker at this
17    point, whether -- we've been discussing the defendant
18    testifying, but I would just note we don't even have a
19    witness list with the defendant on it. So we need some
20    clarity on it, as we have provided the courtesy to Mr. Parker
21    about our witnesses.
22                THE COURT: Anything you can help, at this point,
23    as to anybody you're sure you're going to call?
24                MR. PARKER: I don't anticipate calling any
25    witnesses other than potentially Mr. Legassa. And, I mean,
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 7 of 185
                                                                       7




 1    that's a decision that has to be a game-time decision when
 2    the government's evidence is in.
 3                THE COURT: Fair enough. But I think that means we
 4    do need to get moving on the charge conference. I mean, I
 5    can't have the charge conference until we finish with the
 6    evidence; that said, I try to have a courtesy -- as a
 7    courtesy, I try my best to give you where I'm intending to go
 8    in advance so it's a useful charge conference. So let's get
 9    some deadlines in here.
10                So if you are anticipating your last witness on
11    tomorrow morning, then that would mean scheduling the charge
12    conference after -- or at least the final charge conference
13    after your last witness. And the question is, can we do
14    anything this afternoon as to a preliminary of where we are
15    on the objections? I think -- on the proposed instructions.
16    I think that's where you are? I'm not sure what else you're
17    proposing.
18                MS. QUEENIN: Yes. It's possible. Of course, we
19    don't know the extent of cross-examinations, and so it's
20    possible that we'll be behind where we think, but we're just
21    trying to figure out if we should be prepared to, A, close
22    tomorrow, and when you want to do the charge conference. And
23    we defer to you as to what is best for you and your schedule.
24                THE COURT: Well, my schedule isn't good, but what
25    time -- I have a sentencing this afternoon.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 8 of 185
                                                                       8




 1                That's at 2:30?
 2                THE DEPUTY CLERK: Yes, Your Honor.
 3                THE COURT: Do I have anything after that?
 4                THE DEPUTY CLERK: You do not, Your Honor.
 5    Three o'clock, actually, you have a sentencing, Your Honor.
 6                THE COURT: Three o'clock I have a sentencing.
 7    Okay.
 8                Am I correct that, from what I have so far from the
 9    parties, I have a dispute over -- I have a specific dispute
10    regarding the -- how the good faith should or shouldn't be
11    instructed. Do I have any other large disputes in front of
12    me?
13                MS. QUEENIN: I don't believe so, Your Honor. And
14    my initial memory was that you had ruled on that, but I think
15    you said it was a preliminary ruling subject to -- you gave a
16    caveat. So I believe --
17                THE COURT: Correct.
18                MS. QUEENIN: -- that's the only dispute before the
19    Court.
20                THE COURT: Is that your recollection of the
21    record?
22                MR. PARKER: Yes. And just for scheduling --
23                THE COURT: Yes.
24                MR. PARKER: -- I was kind of hoping that I could
25    go from court here to some other work that I need Mr. Legassa
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 9 of 185
                                                                       9




 1    for. And so if Your Honor has a sentencing at 3:00, and if
 2    we're going to have any kind of charge conference today, I
 3    would like to have it at 3:30 or 4:00, rather than at 2:00.
 4                MS. QUEENIN: Your Honor, at the risk of belaboring
 5    a point, like, I understand that the --
 6                THE COURT: So let me just --
 7                MS. QUEENIN: -- defense can't make a call on
 8    whether the defendant's testifying, but we would appreciate
 9    the courtesy of -- I don't know what some other work I need
10    the defendant for --
11                THE COURT: So let me just cut through -- I don't
12    need to get into the dispute between the parties. I need to
13    do a little bit more prep for my three o'clock sentencing.
14    So I am planning when we're done here to go back and work on
15    that.
16                I tend to take about an hour on my sentencings, not
17    half an hour -- not very efficient. And I think the more
18    efficient use of time would be for me to put pen to paper on
19    what I'm anticipating doing, so I think what I will -- I
20    think what might make sense is for me to endeavor to get you
21    the jury instructions I'm anticipating giving at some point
22    this afternoon or evening, and that you endeavor to give me
23    at least your first pass of objections before we come in, you
24    know, for tomorrow morning at 8:30.
25                That would then allow us to have a brief charge
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 10 of 185
                                                                        10




 1     conference, assuming you're finished and you're not putting
 2     someone on. That would allow us to do a brief charge
 3     conference while the jury is taking a break and would mean,
 4     yes, closing arguments would be tomorrow then.
 5                 MS. QUEENIN: Okay.
 6                 MR. PARKER: That's fine. That sounds fine,
 7     Your Honor.
 8                 THE COURT: I mean, obviously, if your testimony
 9     goes on longer then, you know, I may only instruct the -- or
10     I may only give you the things. We may then do closing the
11     following morning. But let's be prepared to go forward with
12     closing, if necessary, on Thursday.
13                 Okay. Anything else?
14                 MS. QUEENIN: I had one other thing, Your Honor. I
15     was just thinking more about our discussions surrounding
16     nullification; and at the end, Your Honor had to leave the
17     bench, and so I didn't want to raise this point then and
18     inconvenience you. But we were talking about the reference
19     to Jones Day lawyers, and if names are coming up, the jury
20     needs to be aware of them. And our position is the Jones Day
21     lawyers should not be brought up. They --
22                 THE COURT: I thought I made clear that they
23     shouldn't be brought up anymore.
24                 MS. QUEENIN: I think Your Honor -- I think Your
25     Honor addresses -- my memory, without looking at a
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 11 of 185
                                                                        11




 1     transcript, is that you addressed that the jury should be
 2     aware of the names. But the reference to them is a direct
 3     attempt at nullification, and it's implying that a witness
 4     doesn't have a right to an attorney, and if they do, that
 5     attorney should be called out in court. It's just improper.
 6     And so I just wanted to put that on the record and that's it.
 7                 THE COURT: Anything else?
 8                 MS. QUEENIN: No.
 9                 THE COURT: So I'm going to get off the bench and
10     we'll come back in as soon as we have a full jury.
11                 MS. QUEENIN: Thank you.
12                 THE DEPUTY CLERK: We are in recess.
13                 (Court in recess at 8:43 a.m.
14                 and reconvened at 9:00 a.m.)
15                 THE COURT: We're still missing one juror, but I
16     thought I'd wait in here rather than out there so that we are
17     able to convey to the juror that they need to be here.
18                 And I take it they will knock -- she'll knock when
19     we're all set?
20                 THE DEPUTY CLERK: Yes.
21                 THE COURT: So we are -- yes?
22                 MR. SALTZMAN: Your Honor, would you like the
23     witness to wait on the witness stand or to wait outside and
24     have them --
25                 THE COURT: Witness can proceed to the --
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 12 of 185
                                                                        12




 1                 Any objection to that?
 2                 MR. PARKER: No.
 3                 THE COURT: The witness can proceed.
 4                 MR. SALTZMAN: Okay. Thank you.
 5                 (Pause in proceedings.)
 6                 (Jury present.)
 7                 THE COURT: Good morning.
 8                 And you may proceed with your direct.
 9                 MR. SALTZMAN: Thank you.
10                 THE COURT: And you are still under oath.
11                 THE WITNESS: Thank you.
12                 MR. SALTZMAN: Thank you, Your Honor.
13                                RAYMOND GUILBAULT
14                having been duly sworn, testified as follows:
15            REDIRECT EXAMINATION BY COUNSEL FOR THE GOVERNMENT
16     BY MR. SALTZMAN:
17     Q.   Good morning, Mr. Guilbault.
18     A.   Good morning.
19     Q.   So yesterday Mr. Parker showed you an email and asked you
20     a series of questions about whether or not the defendant was
21     important to NESN. Do you remember that?
22     A.   Yes, I do.
23     Q.   Now, do you also recall on direct examination when I was
24     asking you questions that the defendant was a vice president
25     at NESN?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 13 of 185
                                                                        13




 1     A.   Yes.
 2     Q.   And he was part of the executive team?
 3     A.   Yes, he was.
 4     Q.   And I believe you testified that he was important to
 5     NESN?
 6     A.   Yes, I did.
 7     Q.   Was the defendant so important to the company that you
 8     would have entered into a side deal with a sham entity to pay
 9     him more money?
10     A.   No. I would never enter into that kind of deal for
11     anybody.
12     Q.   Now, you recall that you discussed Mr. Legassa, the
13     defendant, asking for a raise to a $360,000 base salary in
14     the fall of 2021?
15     A.   Correct.
16     Q.   And I believe you testified about an email exchange that
17     you had with him related to that request?
18     A.   Yes, I did.
19                 MR. SALTZMAN: And can we have Exhibit 137 briefly?
20     For -- it's in evidence. Can we have it for the --
21                 MR. PARKER: Your Honor, I'm going to object. I
22     think this is beyond the scope of cross-examination.
23                 THE COURT: I don't believe it is. Go ahead.
24     BY MR. SALTZMAN:
25     Q.   Very briefly, Mr. Guilbault, what was the request from
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 14 of 185
                                                                        14




 1     Mr. Legassa at the bottom for what his base salary should be?
 2     A.   He requested that Sean McGrail and myself approve a
 3     $360,000 base salary.
 4                 MR. SALTZMAN: If we can take this down, please.
 5     Can we briefly have Exhibit 144.
 6     BY MR. SALTZMAN:
 7     Q.   And I direct your attention -- when it's up --
 8                 MR. SALTZMAN: It's in evidence.
 9     BY MR. SALTZMAN:
10     Q.   So it's 144. And the --
11                 MR. SALTZMAN: If you can just blow up the
12     current -- Ms. Hallagan, thank you.
13     BY MR. SALTZMAN:
14     Q.   So just take a look at this blown-up portion. What was
15     the amount of salary that Mr. Legassa ultimately received in
16     the fall of 2021?
17                 MR. PARKER: Same objection, Your Honor.
18                 THE COURT: Overruled.
19                 THE WITNESS: $325,000.
20     BY MR. SALTZMAN:
21     Q.   So what was the difference in what he asked for versus
22     what he got?
23     A.   Approximately $35,000. He asked for $360,000 and he
24     received $325,000.
25     Q.   And NESN said no to that additional $35,000?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 15 of 185
                                                                        15




 1     A.   Correct.
 2     Q.   And this was in the fall of 2021?
 3     A.   Yes, it was.
 4     Q.   So --
 5                  MR. SALTZMAN: We can take that down, Ms. Hallagan.
 6     Thank you.
 7     BY MR. SALTZMAN:
 8     Q.   If NESN had wanted to pay Mr. Legassa more, who could
 9     have authorized that?
10     A.   That could have been authorized by the CEO and myself.
11     Q.   So could you have authorized that $360,000 salary?
12     A.   Yes, we could have.
13     Q.   Would that have required any higher approval?
14     A.   No, it would not have.
15     Q.   And in your 22 years at NESN, did you decide to pay any
16     employees through a fake vendor?
17                  MR. PARKER: I'm going to --
18                  THE WITNESS: Absolutely not.
19                  MR. PARKER: -- object. This has been asked and
20     answered.
21                  THE COURT: I'm going allow it. Go ahead.
22                  THE WITNESS: No, I did not. Employees were always
23     paid through normal payroll and they were -- as a W-2
24     employee.
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     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 16 of 185
                                                                        16




 1     BY MR. SALTZMAN:
 2     Q.     And why did you never do that?
 3                 MR. PARKER: Objection.
 4                 THE COURT: Overruled.
 5                 THE WITNESS: Because there were normal practices
 6     within the company. There were ways to give people the
 7     appropriate compensation and that would not be -- that kind
 8     of a scheme wouldn't be appropriate, wouldn't be --
 9                 MR. PARKER: Objection, Your Honor.
10                 THE COURT: I'll strike the second sentence there
11     and just leave it at the first.
12                 MR. SALTZMAN: Okay.
13     BY MR. SALTZMAN:
14     Q.     Now, do you also recall testifying about Ahmed Darwish on
15     cross-examination and direct-examination?
16     A.     Yes, I do.
17     Q.     And I believe you testified that his salary was roughly,
18     I think, $600,000 when he was hired in January of 2022?
19     A.     Roughly. I think it was a little bit below that, but
20     yes.
21     Q.     And did -- and he also received -- did he also receive a
22     signing bonus?
23     A.     Yes, he did.
24     Q.     And can you just remind the jurors what kind of work was
25     Mr. Darwish hired to perform?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 17 of 185
                                                                        17




 1     A.     He was hired to manage the sales, marketing, and
 2     distribution of the direct-to-consumer product.
 3     Q.     Okay. And that's -- is that related to the work of the
 4     digital group?
 5     A.     Yes, it is.
 6     Q.     When NESN hired Mr. Darwish, how did it decide to pay
 7     him?
 8     A.     We entered into an employment contract with him, paid him
 9     through our normal payroll practices.
10     Q.     In order to receive his salary and bonus, did Mr. Darwish
11     have to do anything other than set up direct deposit with the
12     accounting department or finance department?
13     A.     No, he did not.
14                 MR. PARKER: Objection, Your Honor.
15                 THE COURT: Sustained. Strike the answer.
16     BY MR. SALTZMAN:
17     Q.     So you were also asked some questions about master
18     services agreement and the statement of work?
19     A.     Correct, yes.
20     Q.     And can you just -- since there's been a night, can you
21     just -- just very briefly remind the jurors what's the
22     difference between a master services agreement and a
23     statement of work.
24     A.     A master services agreement is the overall umbrella
25     agreement between a vendor and the company in terms of
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 18 of 185
                                                                        18




 1     broadly what type of work they would do, how much they'd be
 2     paid for that work, and some other, you know, legal language
 3     that goes with that.
 4                 A statement of work is more specific, a description
 5     of a project that the vendor will work on. It falls under
 6     the terms of the master services agreement, but is specific
 7     to detailed project work.
 8     Q.   And Mr. Parker asked you about those -- those documents
 9     on cross-examination, and for -- the documents with respect
10     to Alley Interactive, right? The master services agreement
11     and the statements of work; is that correct?
12     A.   Yes.
13     Q.   So those documents, those three documents, who negotiated
14     them on behalf of NESN?
15     A.   Mr. Legassa.
16     Q.   Okay. And I believe you testified on -- yesterday that
17     you did review that master services agreement with Alley
18     Interactive; is that right?
19     A.   Yes, that is correct.
20     Q.   And when you did, did you commit Alley Interactive's
21     address to memory?
22     A.   No, I did not.
23     Q.   Why not?
24     A.   That's not a level of detail that I would need to be
25     looking at. It's really more important about what the vendor
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 19 of 185
                                                                        19




 1     work would be done and how much we would pay with that -- pay
 2     that vendor. It's just not -- It's not necessary. The
 3     person who drafted the master services agreement, in this
 4     case Mr. Legassa, would be responsible for all the fine-point
 5     details.
 6     Q.   So I believe you testified yesterday that your general
 7     practice was to see -- well, let me back up. Mr. Parker --
 8     strike the question.
 9                 Mr. Parker asked you on cross-examination about
10     certain checks that were approved to Alley Interactive. Do
11     you remember that?
12     A.   Yes, I do.
13     Q.   And I believe yesterday you had testified that your
14     general practice was to review checks and see whether they
15     were in line with the budget for a particular vendor?
16     A.   Yes, that is correct.
17     Q.   Okay. Now, who set the overall budget for digital
18     vendors?
19     A.   Digital vendor budget was established by Mr. Legassa.
20     Q.   And with respect to the budget for Alley Interactive, how
21     often did you have conversations with Mr. Legassa about the
22     work that Alley Interactive was doing?
23     A.   Frequently.
24     Q.   And did you have conversations with him before NESN
25     entered into the master services agreement?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 20 of 185
                                                                        20




 1     A.   Yes, I did.
 2     Q.   And what -- what did he tell you during those
 3     conversations?
 4                 MR. PARKER: Objection, Your Honor.
 5                 (Beginning of sidebar.)
 6                 MR. PARKER: It's a hearsay objection, Your Honor.
 7                 THE COURT: Why doesn't Mr. Legassa's statement
 8     come in as the opposing party?
 9                 MR. PARKER: I'm objecting on -- as to hearsay. If
10     Your Honor lets it in as that, I'm just objecting.
11                 THE COURT: Okay. The hearsay objection is
12     overruled.
13                 (End of sidebar.)
14                 THE COURT: You can answer the question.
15     BY MR. SALTZMAN:
16     Q.   I can ask it again, if it would be helpful.
17     A.   It would be helpful.
18     Q.   All right. Before you entered into the master services
19     agreement, before NESN entered into the master services
20     agreement with Alley Interactive, did you have conversations
21     with Mr. Legassa?
22     A.   Yes, I did.
23     Q.   And what type of information kid he tell you about Alley
24     Interactive in connection with those conversations?
25     A.   He was -- he explained to me why he was recommending them
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 21 of 185
                                                                        21




 1     as a vendor, why he chose them, was choosing them as a vendor
 2     based on their credentials and their experience in the
 3     digital business.
 4     Q.   And what, if anything, did he tell you about the scope of
 5     work that they would be doing?
 6     A.   Very broadly, the scope of work would be
 7     website-development work.
 8     Q.   Okay. And just -- yesterday, you also testified about
 9     what your understanding was as to the size of the budget for
10     Alley Interactive. Do you recall that?
11     A.   Yes, I do.
12     Q.   And roughly, what did you understand the size of the
13     budget to be?
14     A.   Roughly $1 million.
15     Q.   So when Mr. Parker showed you those checks yesterday,
16     when you're reviewing the checks, what, if any, consideration
17     are you providing to -- or having as to the -- how those
18     checks relate to the size of the budget?
19     A.   When sizing -- when signing -- excuse me -- when signing
20     those checks, I was mindful of whether they would be still
21     within the budget, even in aggregate. And that was always a
22     consideration, and those checks were well within the budget
23     that we established for Alley Interactive.
24                 MR. SALTZMAN: Can we please have 155 and 156 in
25     evidence, side by side, please?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 22 of 185
                                                                        22




 1     BY MR. SALTZMAN:
 2     Q.   And do you mind just reminding the jurors what each one
 3     of these charts reflects?
 4     A.   Certainly. The chart on the left is the invoices
 5     submitted and paid -- submitted by and paid to Alley
 6     New York; and the chart on the right are the invoices
 7     submitted for Alley Connecticut.
 8     Q.   And which chart reflects the invoices submitted by the
 9     party that NESN contracted with in the master services
10     agreement?
11     A.   The chart on the left.
12     Q.   And I'm not asking you to do the exact math, but roughly,
13     if you were to add up the two total paid figures, roughly,
14     what does it amount to?
15     A.   Almost $1.1 million, between $1 million and $1.1 million.
16     Q.   And how does that relate to the size of the budget, or
17     the amount budgeted that you understood was budgeted to Alley
18     Interactive in 2021?
19     A.   It was consistent and reasonably close to the amount
20     budgeted for Alley.
21                 MR. SALTZMAN: Okay. We can take these down,
22     please. Thank you.
23     BY MR. SALTZMAN:
24     Q.   So, finally, Mr. Guilbault, you were asked a series of
25     questions about -- by Mr. Parker, about work being done
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 23 of 185
                                                                        23




 1     outside of the statement of work. Do you remember that?
 2     A.   Yes, I do.
 3     Q.   About the rate, about the -- the number of hours billed
 4     and the amount billed for those hours? Do you remember that?
 5     A.   Yes, I do.
 6     Q.   Okay. So just stepping back, who was the individual at
 7     NESN that was tracking the relationship with the vendor,
 8     Alley Interactive?
 9     A.   Mr. Legassa.
10     Q.   And when you -- when you reviewed the master services
11     agreement, do you recall reading what the vendor hourly rate
12     was in that master services agreement?
13     A.   I do not recall what that was prior to being shown
14     yesterday.
15     Q.   Were you -- were you tracking the number of hours that
16     Alley Interactive was working on NESN-related projects?
17     A.   I personally was not doing that.
18     Q.   And when you were approving invoices for Alley
19     Interactive, would you review them alongside a statement of
20     work before you signed the checks?
21     A.   No, I would not.
22     Q.   When you were signing the checks, would you take out the
23     master services agreement and --
24     A.   No, I would not.
25     Q.   Why not?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 24 of 185
                                                                        24




 1     A.   Because I trusted that Mr. Legassa was properly managing
 2     the relationship with that vendor, that was his account, that
 3     was his vendor to manage, and that he had already previously
 4     preapproved all the invoices before they came to me and all
 5     the invoices behind every check that came to me. So I
 6     trusted him that the work was being done appropriately and it
 7     was within the scope of what was outlined in those
 8     agreements.
 9     Q.   So I understand that you trusted him, but why did you
10     trust him?
11     A.   Well, I -- I hired Mr. Legassa into the role as VP at
12     digital. Others were involved in the hiring, but I hired
13     him. He worked directly for me. And in his role and in my
14     dealings with him in over two years, he had the authority for
15     that position to approve the vendor work, and I personally
16     trusted him in that role. He was given a lot of
17     responsibility and he was entrusted to carry those
18     responsibilities out appropriately.
19                 MR. SALTZMAN: One moment, Your Honor.
20                 Nothing further. Thank you.
21                 MR. PARKER: I have no questions.
22                 THE COURT: Okay. Thank you. You may step down.
23     You're free to leave.
24                 THE WITNESS: Thank you very much, Your Honor.
25                 THE COURT: Ready to call your next witness?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 25 of 185
                                                                        25




 1                 MS. QUEENIN: Yes, Your Honor. The government
 2     calls Savannah Reinink.
 3                 THE DEPUTY CLERK: Before you sit, could you please
 4     raise your right hand.
 5                 (Witness duly sworn.)
 6                 THE DEPUTY CLERK: Please state your name for the
 7     record and spell your last name.
 8                 THE WITNESS: My name is Savannah Reinink, last
 9     name is spelled R-e-i-n-i-n-k.
10                 THE DEPUTY CLERK: Thank you. You may have a seat.
11                 THE WITNESS: Thank you.
12                                 SAVANNAH REININK
13               having been duly sworn, testified as follows:
14              DIRECT EXAMINATION BY COUNSEL FOR THE GOVERNMENT
15     BY MS. QUEENIN:
16     Q.   Good morning.
17     A.   Good morning.
18     Q.   If you could just pull the microphone a little bit closer
19     to you. I want to make sure the jury can hear you when
20     you're talking.
21                 Where do you work?
22     A.   I work at Google.
23     Q.   And how long have you worked at Google for?
24     A.   I worked at Google for three years.
25     Q.   What is your position at Google?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 26 of 185
                                                                        26




 1     A.   I'm a custodian of records on the legal investigations
 2     support team.
 3     Q.   Can you describe for the jury briefly what you do for
 4     your job?
 5     A.   We receive and respond to requests for user data from law
 6     enforcement in the form of subpoenas, search warrants, and
 7     court orders.
 8     Q.   And you mentioned you worked for Google. What types of
 9     services, generally, does Google provide?
10     A.   Google provides a variety of services, including Gmail,
11     Chat, and phone services as well.
12     Q.   In connection with your job, are you familiar with Gmail
13     subscriber records?
14     A.   Yes, I am.
15                 MS. QUEENIN: Can I have Exhibit 81, for now for
16     the witness only?
17     BY MS. QUEENIN:
18     Q.   Ms. Reinink, do you recognize this document?
19     A.   Yes.
20     Q.   What is it?
21     A.   This is a Google subscriber information file.
22                 MS. QUEENIN: Your Honor, I'd offer it.
23                 MR. PARKER: No objection.
24                 THE COURT: Exhibit 81 is admitted and may be shown
25     to the jury.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 27 of 185
                                                                        27




 1                 (Exhibit 81 admitted into evidence.)
 2     BY MS. QUEENIN:
 3     Q.   Now that the jury has this in front of them, can you just
 4     read the title that's in all capitals?
 5     A.   Yes. "GOOGLE SUBSCRIBER INFORMATION."
 6     Q.   Okay. And directing your attention to the section that
 7     says "email," it's in the top paragraph there, what is the
 8     email address this Google subscriber information relates to?
 9     A.   It is listed as alleyinteractivellc@gmail.com.
10                 MS. QUEENIN: Okay. And we can exit out of that
11     view.
12     BY MS. QUEENIN:
13     Q.   And I want to focus on the creation date, which is right
14     below that paragraph. Can you read for the jury what date
15     this Gmail account, alleyinteractivellc@gmail.com, was
16     created on?
17     A.   It is listed as February 8, 2021.
18     Q.   Okay. And, now I want to focus your attention on the
19     section that says "account recovery." What is the recovery
20     email for the alleyinteractivellc@gmail.com address?
21     A.   Yes. It is listed as alegassa@gmail.com.
22                 MS. QUEENIN: And we can exit out of this.
23                 I have no further questions for this witness, Your
24     Honor.
25                 MR. PARKER: No questions.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 28 of 185
                                                                        28




 1                 THE COURT: Thank you. You may step down.
 2                 THE WITNESS: Thank you.
 3                 MR. SALTZMAN: Your Honor, the government calls
 4     Frank Scaturchio.
 5                 THE COURT: Okay.
 6                 THE DEPUTY CLERK: Sir, before you take a seat,
 7     could you please raise your right hand.
 8                 (Witness duly sworn.)
 9                 THE DEPUTY CLERK: Please state your name for the
10     record and spell your last name.
11                 THE WITNESS: Frank Scaturchio,
12     S-c-a-t-u-r-c-h-i-o.
13                 THE DEPUTY CLERK: Thank you. You may have a seat.
14                                 FRANK SCATURCHIO
15               having been duly sworn, testified as follows:
16              DIRECT EXAMINATION BY COUNSEL FOR THE GOVERNMENT
17     BY MR. SALTZMAN:
18     Q.   Good morning, Mr. Scaturchio.
19     A.   Good morning.
20     Q.   Where do you work, sir?
21     A.   PostNet.
22     Q.   What is PostNet?
23     A.   Shipping and printing.
24     Q.   Does it also offer mailbox services?
25     A.   Yes, it does.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 29 of 185
                                                                        29




 1     Q.   What is your job at PostNet?
 2     A.   Owner.
 3     Q.   How long have -- well, where is the PostNet that you own
 4     located?
 5     A.   680 East Main Street, Stamford, Connecticut 06901.
 6     Q.   How long have you been the owner of that PostNet for?
 7     A.   Almost eight years.
 8     Q.   So if someone wants to get a physical mailbox with your
 9     company, how can that person do that?
10     A.   Either online through an app or in front of -- inside the
11     store.
12     Q.   Once someone has a mailbox, how can that person access
13     their mailbox?
14     A.   Walk in and request to pick up, or use the key to open up
15     their mailbox.
16                 MR. SALTZMAN: For the witness, can we please have
17     Exhibit 48?
18     BY MR. SALTZMAN:
19     Q.   Do you recognize this document?
20     A.   Yes.
21     Q.   And what is it?
22     A.   It's an application for a P.O. Box for a United States
23     Postal Services.
24                 MR. SALTZMAN: I'd offer Exhibit 48 in evidence.
25                 MR. PARKER: No objection.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 30 of 185
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 1                 THE COURT: 48 is admitted and may be shown to the
 2     jury.
 3                 (Exhibit 48 admitted into evidence.)
 4                 MR. SALTZMAN: Thank you.
 5     BY MR. SALTZMAN:
 6     Q.   Sir, who fills out -- as a general matter, who fills out
 7     this application?
 8     A.   If they do it online through an app, it's done
 9     electronically. If they walk into the store, we key it in
10     through our POS.
11     Q.   So I want to just show you a few parts of the
12     application. First, part 1. What is the date of the
13     application?
14     A.   February 9, 2021.
15                 MR. SALTZMAN: And if we could have Section 2,
16     please.
17     BY MR. SALTZMAN:
18     Q.   Who is the applicant in Section 2?
19     A.   Ariel Legassa.
20     Q.   Is that the person who is applying for the mailbox?
21     A.   Yes.
22     Q.   All right. And in Section 3, what's the address to be
23     used for delivery?
24     A.   680 East Main Street, Box 729, Stamford,
25     Connecticut 06901.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 31 of 185
                                                                        31




 1     Q.   And is that the address for your business?
 2     A.   Yes.
 3     Q.   Okay. And in Section 8, it's -- Section 8, what's
 4     provided there?
 5     A.   Two forms of ID.
 6     Q.   By the applicant?
 7     A.   Yes.
 8     Q.   And Section 9, name a firm or corporation, do you see the
 9     response listed there?
10     A.   9?
11     Q.   Section 9?
12     A.   Oh. Alley Interactive LLC.
13     Q.   And how does the business address for -- that's listed
14     for Alley Interactive relate to the mailing address at your
15     office?
16     A.   It's -- so it would -- the mail would come Alley
17     Interactive LLC, 680 East Main Street, Box 729, Stamford,
18     Connecticut 06901.
19     Q.   And type of business, what is the type of business?
20     A.   Consultant services.
21     Q.   Okay. And then if we could go to Section 16, do you see
22     a signature of the applicant?
23     A.   Yes.
24     Q.   Does an applicant need to produce identification in
25     connection with an application?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 32 of 185
                                                                        32




 1     A.   Yes.
 2     Q.   Does PostNet maintain a copy of the identification
 3     provided?
 4     A.   Yes.
 5                 MR. SALTZMAN: Could we have page 5?
 6     BY MR. SALTZMAN:
 7     Q.   I'll direct you to the item at the top. What is this
 8     document?
 9     A.   A Connecticut driver's license.
10     Q.   And what is the name of the individual listed on the
11     driver's license?
12     A.   Ariel Legassa.
13                 MR. SALTZMAN: No further questions. Thank you.
14                 MR. PARKER: No questions.
15                 THE COURT: Thank you. You may step down.
16                 MS. QUEENIN: Your Honor, the government calls its
17     next witness, Nancy Nicolescu.
18                 THE DEPUTY CLERK: Before you take your seat, could
19     you please raise your right hand.
20                 (Witness duly sworn.)
21                 THE DEPUTY CLERK: Please state your name for the
22     record and spell your last name.
23                 THE WITNESS: Nancy Nicolescu, N-i-c-o-l-e- -- "s"
24     as in "Sam" -- -c-u.
25                 THE DEPUTY CLERK: Thank you. You may have a seat.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 33 of 185
                                                                        33




 1                                 NANCY NICOLESCU
 2               having been duly sworn, testified as follows:
 3               DIRECT EXAMINATION BY COUNSEL FOR THE GOVERNMENT
 4     BY MS. QUEENIN:
 5     Q.   Good morning.
 6     A.   Good morning.
 7     Q.   Can you please describe where you work?
 8     A.   I work for the Connecticut Secretary of the State's
 9     Office.
10     Q.   What do you do there?
11     A.   I'm the assistant director in the business services
12     division. I'm in --
13     Q.   And how long have you held that position?
14     A.   I've held that position since 2021.
15     Q.   What are your responsibilities as the assistant director
16     in the business services division at the Connecticut
17     Secretary of State?
18     A.   My responsibilities are to oversee a staff of 35
19     full-time employees for a number of different units. There's
20     the business services division. There's document review,
21     authentications, notary, publications, regulations.
22     Q.   Are you familiar with the process of incorporating an
23     entity with the Connecticut Secretary of State?
24     A.   Yes. So one of the biggest divisions for the Secretary
25     of State is where we receive filings for business formations
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 34 of 185
                                                                        34




 1     and -- is that -- can you repeat the question?
 2     Q.   Sure. I just asked are you familiar with the process of
 3     incorporating an entity with the Connecticut Secretary of
 4     State?
 5     A.   Yes.
 6     Q.   And how are you familiar with it?
 7     A.   Okay. Thank you.
 8                 Our document review unit is responsible for taking
 9     in business filings. We receive probably about 50 --
10     $50 million a year in filings with business formations in the
11     State of Connecticut.
12     Q.   And what type of information does an applicant need to
13     provide in order to register an entity?
14     A.   It depends on the type of entity, but generally the
15     business name, the business owner, agent information, address
16     information, that kind of thing.
17     Q.   And why -- why does a company register with the Secretary
18     of State? What are the benefits of doing so?
19     A.   A company -- there's a number of different reasons, but a
20     company is required to register if you're conducting business
21     in the State of Connecticut. They would want to potentially
22     reserve a business name, open a bank account, things of that
23     nature.
24     Q.   Is any diligence conducted by the Connecticut Secretary
25     of State into whether these entities that are being
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 35 of 185
                                                                        35




 1     registered are actually functioning entities?
 2     A.   The Secretary of State's office is ministerial in its
 3     functions, so what that means is we don't actually validate
 4     any of the filings, or what's submitted to our office.
 5                  MS. QUEENIN: Can I have Exhibit 121 for the
 6     witness only for now?
 7     BY MS. QUEENIN:
 8     Q.   And you should see on the screen in front of you, there's
 9     a document, and I'm just going to ask Ms. Hallagan to quickly
10     scroll through it so you can see the other pages.
11                  Do you recognize this document, Ms. Nicolescu?
12     A.   I do.
13     Q.   What do you recognize it to be?
14     A.   Well, there's --
15     Q.   Just generally?
16     A.   -- a number of different documents, scrolling through
17     here. Which one?
18                  MS. QUEENIN: Let's focus on the first document.
19     If you can go to the first page, Ms. Hallagan. And go to the
20     next page, please.
21     BY MS. QUEENIN:
22     Q.   What do you recognize this to be?
23     A.   Okay. This is the certificate of organization, what we
24     also call the birth certificate for the business.
25                  MS. QUEENIN: Your Honor, I would offer
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 36 of 185
                                                                        36




 1     Exhibit 121.
 2                 MR. PARKER: No objection.
 3                 THE COURT: So are you offering the whole thing
 4     or --
 5                 MS. QUEENIN: Yes.
 6                 THE COURT: -- are you offering just --
 7                 MS. QUEENIN: The whole thing.
 8                 THE COURT: Okay.
 9                 No objection?
10                 MR. PARKER: No objection.
11                 THE COURT: Exhibit 121 is admitted.
12                 (Exhibit 121 admitted into evidence.)
13                 MS. QUEENIN: Okay. And can we please go to
14     page 2, Ms. Hallagan.
15     BY MS. QUEENIN:
16     Q.   And, Ms. Nicolescu, now that the jury has this document
17     in front of them and is able to look at it, can you just
18     describe for me what the title of this document is at the
19     top, under the logo?
20     A.   Yes. Certificate of organization for a limited liability
21     company, domestic.
22     Q.   And focusing your attention on numeral 1, where it says
23     name of limited liability company, can you please read for me
24     what entity is listed in Number 1?
25     A.   Alley Interactive LLC.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 37 of 185
                                                                        37




 1     Q.   Okay. And if we can take a look in the upper right-hand
 2     corner of the document, in that text box, when was this
 3     certificate of incorporation filed for Alley Interactive LLC
 4     in Connecticut?
 5     A.   On February 11, 2021.
 6     Q.   Okay. And we could exit out of that view, and if we
 7     could zoom in on Section 2, where it says, "LLC's principal
 8     office address," can you just read for me the city and state
 9     of the LLC's principal office address provided to the
10     Secretary of State?
11     A.   Stamford, Connecticut.
12     Q.   Okay. And in part 3, what is the mailing address for
13     Alley Interactive LLC?
14     A.   680 East Main Street, Number 729.
15     Q.   Okay. And if we could go to the next page, and directing
16     your attention to Part 7 -- Part 6 where it says "manager of
17     member information," whose name is listed there?
18     A.   Ariel Legassa.
19     Q.   And the city and state of the business address and
20     residence address?
21     A.   Stamford, Connecticut.
22     Q.   Okay.
23                  MS. QUEENIN: And can we blow up Part 7 where it
24     says "entity email"?
25
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 38 of 185
                                                                        38




 1     BY MS. QUEENIN:
 2     Q.   What email address is listed there?
 3     A.   Alleyinteractivellc@gmail.com.
 4     Q.   Okay. Thank you.
 5                 Now, I want to focus your attention on Part 8 at
 6     the bottom of the page. Who is the signatory on this company
 7     registration?
 8     A.   Ariel Legassa.
 9                 MS. QUEENIN: Thank you. And we can take that down
10     for now.
11     BY MS. QUEENIN:
12     Q.   Was this certificate of organization approved for Alley
13     Interactive LLC?
14     A.   Yes.
15     Q.   I asked you before about diligence in connection with the
16     application process. Does the Connecticut Secretary of
17     State's Office have any role in diligence once entities are
18     formed?
19     A.   No.
20     Q.   So is there any review of whether an entity is actually a
21     functioning corporate entity?
22     A.   No.
23     Q.   Are you familiar generally with the concept of
24     disillusion of a corporation?
25     A.   Yes.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 39 of 185
                                                                        39




 1     Q.   And what does it mean to dissolve a corporation?
 2     A.   It means to close the business, to dissolve it.
 3     Q.   Based on your review of the records for Alley
 4     Interactive, did there come a time when that entity was
 5     dissolved?
 6     A.   Yes.
 7     Q.   And do you recall when that was?
 8     A.   April 2022.
 9     Q.   Okay.
10                  MS. QUEENIN: No further questions, Your Honor.
11                  MR. PARKER: No questions.
12                  THE COURT: Thank you. You may step down.
13                  MS. QUEENIN: Your Honor, the government calls its
14     next witness, Mamek Charepoo.
15                  THE COURT: Feel free to stretch while we're
16     waiting for people to come in and out.
17                  THE WITNESS: Do I just --
18                  THE DEPUTY CLERK: You can stand. Before you sit,
19     can you please raise your right hand.
20                  (Witness duly sworn.)
21                  THE DEPUTY CLERK: Please -- excuse me -- please
22     state your name and spell your last name.
23                  THE WITNESS: Mamek Charepoo, C-h-a-r-e-p-o-o.
24                  THE DEPUTY CLERK: Thank you. You may have a seat.
25
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 40 of 185
                                                                        40




 1                                  MAMEK CHAREPOO
 2               having been duly sworn, testified as follows:
 3              DIRECT EXAMINATION BY COUNSEL FOR THE GOVERNMENT
 4     BY MS. QUEENIN:
 5     Q.   Good morning. Where you do you work?
 6     A.   I work at Santander Bank.
 7     Q.   How long have you worked at Santander Bank?
 8     A.   Seven years.
 9     Q.   What is your current position at Santander?
10     A.   I'm a branch manager.
11     Q.   What are your responsibilities as a branch manager?
12     A.   Basically hiring, operations, sales -- everything.
13     Q.   And where are you a branch manager? What location?
14     A.   Right here at Seaport.
15     Q.   Is Santander an FDIC-insured bank?
16     A.   Yes.
17     Q.   And in connection with your work at Santander Bank, are
18     you familiar with Santander business checking accounts?
19     A.   Yes.
20     Q.   What is a business checking account?
21     A.   Basically, it's a checking account for a business entity.
22     Q.   And are you familiar with the process of opening a
23     business checking account?
24     A.   Yes.
25     Q.   Can you describe for the jury how someone may go about
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 41 of 185
                                                                        41




 1     opening a business checking account at Santander?
 2     A.   Certainly. They have to present their business
 3     certificate. Usually they have an EIN number for that and
 4     their ID.
 5     Q.   Can you open a bank account without a business
 6     certificate for a business?
 7     A.   No.
 8     Q.   And what does the bank do with that documentation once
 9     it's received?
10     A.   We make a copy and we keep it for our records.
11     Q.   What, if any, due diligence does the bank conduct on a
12     business that's looking to open a business checking account
13     with Santander?
14     A.   So, basically, we do go on the state website of whatever
15     the business document has been presented to us, and we see if
16     we can see that on the state website.
17     Q.   And when you say see something on the state website, what
18     are you referring to?
19     A.   To see if the business is listed on the state website as
20     it is on the business certificate.
21     Q.   In connection -- strike that.
22                 Is the process of opening a business checking
23     account the same across all Santander branches?
24     A.   Yes.
25     Q.   And in connection with your testimony today, have you had
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 42 of 185
                                                                        42




 1     a chance to review account documents for a bank account held
 2     by an Alley Interactive LLC based in Connecticut?
 3     A.     Yes.
 4                   MS. QUEENIN: Can I have Exhibit 42, just for the
 5     witness?
 6     BY MS. QUEENIN:
 7     Q.     Ms. Charepoo, do you recognize this document? I'm going
 8     to ask Ms. Hallagan to just scroll through the pages to show
 9     you.
10     A.     Yes.
11                   MS. QUEENIN: If you can go back to the first page.
12     BY MS. QUEENIN:
13     Q.     Ms. Charepoo, what, generally, are these documents?
14     A.     This is basically a business checking account package all
15     the documents that we need to be able to open up the -- to
16     open up the account.
17                   MS. QUEENIN: Your Honor, I'd offer Exhibit 42.
18                   MR. PARKER: No objection.
19                   THE COURT: Exhibit 42 is admitted and can be shown
20     to the jury.
21                   (Exhibit 42 admitted into evidence.)
22     BY MS. QUEENIN:
23     Q.     Okay. Now that the jury has this in front of them, can
24     you just read for me the title of the first page here?
25     A.     Certainly. It's -- the title is the
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 43 of 185
                                                                        43




 1     "Business/Non-Business Entity Signature Card."
 2     Q.   And what is listed under "participant 1"?
 3     A.   It's alley -- Alley Interactive LLC and it -- basically,
 4     that's the first participant.
 5     Q.   Great. And what is the date of organization for that
 6     entity that's listed on this Santander business checking
 7     account?
 8     A.   It's February 11, 2021.
 9     Q.   And what is the address listed?
10     A.   It's 680 East Main Street, Suite 729, Stamford,
11     Connecticut 06901.
12     Q.   Okay. And if we could take a look at the email address
13     listed?
14     A.   It is alleyinteractivellc@gmail.com.
15                 MS. QUEENIN: Okay. If we can exit out of this
16     view and go to participant 2.
17     BY MS. QUEENIN:
18     Q.   Can you please read for me, Ms. Charepoo, the name of the
19     individual listed under participant 2 on this business
20     checking account?
21     A.   It's Ariel Legassa.
22     Q.   And what is listed under the section "employer's name"?
23     A.   It's Kaulike LLC.
24                 MS. QUEENIN: Okay. We can take that down.
25     BY MS. QUEENIN:
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 44 of 185
                                                                        44




 1     Q.   What does it mean to be listed as a participant on a bank
 2     account?
 3     A.   That means you have direct ownership and you're able to
 4     transact on the account.
 5     Q.   Okay. Are there any other individual signatories listed
 6     on this account other than Ariel Legassa?
 7     A.   No.
 8                 MS. QUEENIN: If we could go to page 5 of this
 9     document, please? Actually, can we go back to the first
10     page?
11     BY MS. QUEENIN:
12     Q.   I just want to look at the date at the top. What is the
13     date of this signature card on the account opening document?
14     A.   It's February 19, 2021.
15     Q.   Thank you.
16                 MS. QUEENIN: If we could go to page 5.
17     BY MS. QUEENIN:
18     Q.   What is this document?
19     A.   This is the state website business certificate.
20     Q.   And if we could go to page 12 of the PDF, what is this?
21     A.   This is a document that says who owns and how much do
22     they own the company.
23     Q.   So if we could just focus on the box there that
24     Ms. Hallagan has highlighted, who is listed there?
25     A.   Ariel Legassa.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 45 of 185
                                                                        45




 1     Q.     And what is the percentage of ownership listed?
 2     A.     100.
 3                    MS. QUEENIN: Okay. If we could exit out of this
 4     and I'd like to go to page 14.
 5     BY MS. QUEENIN:
 6     Q.     What is this document, Ms. Charepoo?
 7     A.     This is the Connecticut driver's license.
 8     Q.     And why is this in the file?
 9     A.     We always make a copy of the person's ID.
10     Q.     Okay.
11                    MS. QUEENIN: And we could take this down.
12                    We could take it down.
13     BY MS. QUEENIN:
14     Q.     Ms. Charepoo, in connection with your review of this
15     Santander business checking account, did you also review
16     account statements and details of withdrawals and deposits?
17     A.     I did.
18     Q.     In front of you on the table there is a folder, and in
19     that folder you're going to see Exhibits 41, 43, 44, and 45.
20     I just want you to take a minute and look through them and
21     then look up when you're done.
22     A.     Yes.
23     Q.     Do you recognize the documents in the folder in front of
24     you?
25     A.     I do.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 46 of 185
                                                                        46




 1     Q.   What are they?
 2     A.   One of them are just copies of checks from transactions.
 3     Another is a signature card, which I was just talking about.
 4     Another is statements from the business. And the other one
 5     is a report for wires that were conducted, and another one is
 6     showing that official checks were created at the bank.
 7                 MS. QUEENIN: Your Honor, I'd offer Exhibits 41,
 8     43, 44, and 45.
 9                 MR. PARKER: No objection.
10                 THE COURT: 41, 43, 44, and 45 are admitted.
11                 (Exhibits 41, 43, 44, and 45 admitted into
12                 evidence.)
13                 MS. QUEENIN: Thank you, Your Honor.
14                 Okay. I want to take a look at Exhibit 43 first,
15     for the witness and the jury, please.
16     BY MS. QUEENIN:
17     Q.   Ms. Charepoo, what is this document?
18     A.   This is a statement for Alley Interactive LLC.
19     Q.   And what is the date on the first statement in this
20     account, focusing on the top?
21     A.   It's February 19, 2021 to March 19, 2021.
22     Q.   Okay. And what was the opening deposit in the account on
23     February 19th?
24     A.   It was $100.
25     Q.   Okay. Now, I want to highlight a few transactions for
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 47 of 185
                                                                        47




 1     you.
 2                    MS. QUEENIN: First, I'd like to look at the
 3     account activity on April 8th, which is page 2 of the PDF,
 4     Ms. Hallagan. And if we could just blow up that section.
 5     Thank you.
 6     BY MS. QUEENIN:
 7     Q.     Ms. Charepoo, do you see a deposit in this account on
 8     April 8th?
 9     A.     I do.
10     Q.     And if you could just read the line for me?
11     A.     It's a branch transaction at Bristol, Connecticut, check
12     deposit, $110,000.
13     Q.     Okay.
14                    MS. QUEENIN: And can I have Exhibit 1 -- sorry --
15     41 for the witness and for the jury, and I would ask
16     Ms. Hallagan to scroll to page 7 of this document.
17     BY MS. QUEENIN:
18     Q.     Ms. Charepoo, based on your review of the account, what
19     entity was this $110,000 deposit from?
20     A.     It was from New England Sports Network.
21     Q.     And if we could scroll to the next page, do you see a
22     marking on the back of the check?
23     A.     I do.
24     Q.     And to the best of your ability, what does that marking
25     say?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 48 of 185
                                                                        48




 1     A.   It says, "pay to the order of Santander, Alley
 2     Interactive LLC."
 3                  MS. QUEENIN: And if we could exit out of that
 4     view.
 5     BY MS. QUEENIN:
 6     Q.   Do you see any signatures on the check?
 7     A.   On this part of the check, I do not.
 8                  MS. QUEENIN: Okay. And if we could go back to
 9     Exhibit 43 and I'd like to ask you to go back to page 2 of
10     the PDF, Ms. Hallagan.
11     BY MS. QUEENIN:
12     Q.   So having just reviewed the April 8th transaction, I'd
13     like to focus on the transaction below that, which is
14     April 16th. Do you see that transaction?
15     A.   I do.
16     Q.   And what is it?
17     A.   It's a check purchase for $76,398.70.
18     Q.   What is a check purchase?
19     A.   It's an official check that's purchased from the bank,
20     which basically guarantees that that money is guaranteed.
21     Q.   Ms. Charepoo, were you able to review records of those
22     checks drawn on this account?
23     A.   Yes.
24                  MS. QUEENIN: Can I have Exhibit 45 for the witness
25     and the jury, please?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 49 of 185
                                                                        49




 1     BY MS. QUEENIN:
 2     Q.   What is this document?
 3     A.   This is basically from our transactions. It shows that
 4     checks were created for this account and bought.
 5                 MS. QUEENIN: Okay. I'd like to scroll to the next
 6     page, please. And if we could just blow up the check so it's
 7     easier for the witness and the jury to see it.
 8     BY MS. QUEENIN:
 9     Q.   What is this check, Ms. Charepoo?
10     A.   It's an official check.
11     Q.   And what is the amount?
12     A.   $49,777.03.
13     Q.   And who is it payable to?
14     A.   Wells Fargo Auto - Payoff.
15                 MS. QUEENIN: Okay. And we could exit out of this
16     view and go to the next page. And focusing on the second
17     image of the check -- no, the one below that.
18     BY MS. QUEENIN:
19     Q.   What is this check?
20     A.   This is another official check.
21     Q.   And what is the amount of this check?
22     A.   $26,621.67.
23     Q.   And what is the date on this check?
24     A.   This date is April 16, 2021.
25     Q.   And who is it payable to?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 50 of 185
                                                                        50




 1     A.   Tompkins Mahopac Bank.
 2                  MS. QUEENIN: Great. And we can exit out of this
 3     document, please.
 4                  And can I have Exhibit 45 for both the witness and
 5     the jury, please? 44. Apologies.
 6     BY MS. QUEENIN:
 7     Q.   Ms. Charepoo, do you recognize this document?
 8     A.   I do.
 9     Q.   What is it?
10     A.   This is a report for wires.
11     Q.   And when you say "wires," what do you mean by that?
12     A.   It's an electronic transfer of money from one account to
13     another.
14                  MS. QUEENIN: Okay. I'd like to go back to
15     Exhibit 43. And page 3, please.
16     BY MS. QUEENIN:
17     Q.   Do you see a deposit in the Alley Interactive Santander
18     account on May 10th?
19     A.   Yes.
20     Q.   And if you could read that line to the jury?
21     A.   Branch transaction at Bristol Connecticut, check deposit,
22     $135,000.
23                  MS. QUEENIN: And if we could have Exhibit 41,
24     please. And go to page 10?
25
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 51 of 185
                                                                        51




 1     BY MS. QUEENIN:
 2     Q.   What entity is this deposit of $135,000 from?
 3     A.   New England Sport Network.
 4                  MS. QUEENIN: And if we could go to Exhibit 43, and
 5     what I'd like to do is go to May 11th, which is on page 3 of
 6     the PDF.
 7     BY MS. QUEENIN:
 8     Q.   Ms. Charepoo, after that $135,000 deposit from
 9     New England Sports Network, do you see an outgoing wire
10     transfer?
11     A.   I do.
12     Q.   And what is the amount of that wire transfer?
13     A.   60,000.
14     Q.   Okay.
15                  MS. QUEENIN: And now could I have Exhibit 44.
16     We're going to go back to this document.
17     BY MS. QUEENIN:
18     Q.   Can you just remind the jury what Exhibit 44 shows?
19     A.   This shows a report of wires that were performed.
20     Q.   And wires are what?
21     A.   Electronic transfers of money from one account to
22     another.
23     Q.   Okay. So I would like to focus your attention below that
24     first line there, to the transaction that says May 11, 2021.
25     Do you see that?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 52 of 185
                                                                        52




 1     A.   I do.
 2     Q.   What does this transaction show? What is the date?
 3     A.   May 11, 2021.
 4     Q.   And the amount?
 5     A.   60,000.
 6     Q.   Who is the beneficiary?
 7     A.   Ariel Legassa.
 8     Q.   And who is the receiving institution?
 9     A.   The receiving institution is American Broadcast.
10     Q.   And what about the originator of the wire transaction?
11     A.   The originator is Alley Interactive LLC.
12                  MS. QUEENIN: Okay. And I'd like to go back to
13     Exhibit 43. And go to page 15 of the PDF, to look at October
14     of 2021.
15     BY MS. QUEENIN:
16     Q.   Do you see a transaction, a wire transfer on October 4th?
17     A.   I do.
18     Q.   What is the amount of that transaction?
19     A.   20,000.
20     Q.   Okay.
21                  MS. QUEENIN: And now I'd like to go back to
22     Exhibit 44. And if we could go to page 3 and focus on the
23     top of the page. Ms. Hallagan is highlighting a section
24     here.
25
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 53 of 185
                                                                        53




 1     BY MS. QUEENIN:
 2     Q.   I just want to ask you the same questions: What is the
 3     date of this wire?
 4     A.   October 4, 2021.
 5     Q.   And the amount?
 6     A.   20,000.
 7     Q.   And the beneficiary?
 8     A.   Ariel.
 9     Q.   And what about the originator of the wire?
10     A.   The originator is Alley Interactive LLC.
11     Q.   And what about the receiving institution?
12     A.   Citibank NA.
13                 MS. QUEENIN: Okay. We can take that down.
14     BY MS. QUEENIN:
15     Q.   Ms. Charepoo, based on your review of the account, did
16     there come a time when the Santander Bank account for Alley
17     Interactive was closed?
18     A.   Yes.
19     Q.   Do you recall when that was?
20     A.   January 2022.
21                 MS. QUEENIN: Okay. Your Honor, I have no further
22     questions for this witness.
23                 MR. PARKER: No questions.
24                 THE COURT: Thank you. You may step down.
25                 MR. SALTZMAN: Your Honor, the government calls
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 54 of 185
                                                                        54




 1     Bradford Campeau-Laurion.
 2                 THE DEPUTY CLERK: Mr. Saltzman, did you want to
 3     take that folder, or did you want to leave it there?
 4                 MR. SALTZMAN: I will take it.
 5                 THE DEPUTY CLERK: Okay. Thank you.
 6                 Sir, before you sit, could you please raise your
 7     right hand.
 8                 (Witness duly sworn.)
 9                 THE DEPUTY CLERK: Please state your name for the
10     record and spell your last name.
11                 THE WITNESS: Bradford Campeau-Laurion,
12     C-a-m-p-e-a-u, hyphen, L-a-u-r-i-o-n.
13                 THE DEPUTY CLERK: Thank you. You may have a seat.
14                            BRADFORD CAMPEAU-LAURION
15               having been duly sworn, testified as follows:
16              DIRECT EXAMINATION BY COUNSEL FOR THE GOVERNMENT
17     BY MR. SALTZMAN:
18     Q.   Good morning, Mr. Campeau-Laurion.
19     A.   Good morning.
20     Q.   Where do you work, sir?
21     A.   I work for Alley Interactive.
22     Q.   What is your position at Alley Interactive?
23     A.   My position is currently managing partner.
24     Q.   And did you hold a previous position before being
25     managing partner?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 55 of 185
                                                                        55




 1     A.   Yes. For the prior 2½ years, I was the CEO.
 2     Q.   And why did you change positions?
 3     A.   We have eight partners that share ownership of the
 4     business, and we occasionally rotate roles for a fresh
 5     perspective on leadership.
 6     Q.   What is Alley Interactive?
 7     A.   We are a digital agency.
 8     Q.   And what type of work do you do?
 9     A.   So we typically work for large media organizations, like
10     magazines, newspapers, local TV stations, and we build
11     websites for them.
12     Q.   Where is Alley Interactive located?
13     A.   Our headquarters is in New York, but we are a remote
14     company. We have employees all over the United States.
15     Q.   Does Alley Interactive have any related businesses?
16     A.   Yes. We have a subsidiary called Alley Lead, Inc., which
17     is a platform for startup journalism.
18     Q.   Anything else?
19     A.   No, that's it.
20     Q.   How many employees work at Alley Interactive?
21     A.   Approximately 60 currently.
22     Q.   When you were the -- were you the CEO of Alley
23     Interactive in 2020 and 2021?
24     A.   Yes, I was.
25     Q.   And during that time, what were your responsibilities as
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 56 of 185
                                                                        56




 1     the CEO?
 2     A.     Besides providing overall strategic leadership and
 3     direction for the company, I played a key role in our
 4     business development, sales, and marketing efforts.
 5     Q.     So in connection with those efforts, were you involved in
 6     securing new business for Alley?
 7     A.     Yes. That was one of the primary functions of my job.
 8     Q.     Are you familiar with New England Sport Network, or NESN?
 9     A.     Yes, I am.
10     Q.     And are you familiar with an individual named Ariel
11     Legassa?
12     A.     Yes, I am.
13     Q.     How are you familiar with NESN and Ariel Legassa?
14     A.     Besides growing up here, they were our client from 2021
15     into 2022.
16     Q.     And what about Mr. Legassa? How are you familiar with
17     him?
18     A.     He was our primary contact at the beginning of our
19     relationship with NESN.
20     Q.     In connection with that relationship, did you do -- did
21     your company do work for NESN?
22     A.     Yes, we did.
23     Q.     What kind of work did you do for NESN?
24     A.     We primarily worked on some video features for their
25     website.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 57 of 185
                                                                        57




 1     Q.   And I think you just mentioned this before, but just to
 2     be clear, who was your point of contact at NESN?
 3     A.   That was Ariel Legassa.
 4     Q.   And approximately, when did you first start speaking with
 5     Ariel Legassa about doing work for NESN?
 6     A.   In December of 2020.
 7                 MR. SALTZMAN: Okay. For the witness only, can I
 8     please have Exhibit 148?
 9     BY MR. SALTZMAN:
10     Q.   Do you recognize this document?
11     A.   Yes, I do.
12     Q.   And what is it?
13     A.   That is an email thread between myself and Ariel Legassa.
14                 MR. SALTZMAN: I'd offer Exhibit 148.
15                 MR. PARKER: No objection.
16                 THE COURT: 148 is admitted.
17                 (Exhibit 148 admitted into evidence.)
18                 MR. SALTZMAN: Thank you.
19                 THE COURT: It may be shown to the jury.
20                 MR. SALTZMAN: Thank you.
21     BY MR. SALTZMAN:
22     Q.   All right. If I can direct your attention to the top of
23     the email, what is the date and subject?
24     A.   The date is January 29, 2021, and the subject is "project
25     estimate."
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 58 of 185
                                                                        58




 1     Q.   So roughly how soon after you started speaking with
 2     Mr. Legassa about doing work did you send him this email,
 3     approximately?
 4     A.   Approximately a month.
 5     Q.   And at the top of -- can you please read your email at
 6     the top of the chain?
 7     A.   Yes. It says, "Ariel, find our statement of work for
 8     this project attached with the estimate and high level terms
 9     we've discussed thus far. After you've had a chance to
10     review, I'm happy to discuss any questions or feedback for
11     this, or the MSA, which I previously sent over (attached
12     again here for reference and updated to today's date).
13     Excited to move this forward."
14     Q.   What is an MSA?
15     A.   That is a master services agreement.
16     Q.   Did you attach any documents to this email?
17     A.   I did. I attached a -- the MSA, as well as the first
18     statement of work.
19     Q.   Who drafted these documents?
20     A.   I did.
21     Q.   And we'll take a look -- I'll show them to you briefly in
22     a moment, but before doing so, I just want to ask you, does
23     Alley generally enter into master services agreements with
24     clients?
25     A.   With every single client that we work with.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 59 of 185
                                                                        59




 1     Q.   Why?
 2     A.   A master services agreement defines the terms and
 3     conditions for a business relationship. It's standard
 4     practice to sign a document in our industry and would also be
 5     required by our insurance provider.
 6     Q.   Does Alley generally enter into statements of work with
 7     clients?
 8     A.   Yes, for every project that we work on with a client.
 9     Q.   Why?
10     A.   The statement of work is a separate legal document that
11     defines the specific deliverables, specifically what we are
12     building for that project, as well as how long it's going to
13     take, and how much it's going to cost.
14                 MR. SALTZMAN: Can I please have Exhibit 149 for
15     the witness only?
16     BY MR. SALTZMAN:
17     Q.   Mr. Campeau-Laurion, do you recognize this document?
18     A.   Yes. This is another email thread between myself and
19     Ariel Legassa.
20                 MR. SALTZMAN: I'd offer Exhibit 149.
21                 THE COURT: Any objection?
22                 MR. PARKER: Oh, I'm sorry. I was reading,
23     Your Honor. No objection.
24                 THE COURT: 149 is admitted.
25                 (Exhibit 149 admitted into evidence.)
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 60 of 185
                                                                        60




 1                 MR. SALTZMAN: Thank you.
 2     BY MR. SALTZMAN:
 3     Q.   What is the subject of this email thread?
 4     A.   W-9.
 5     Q.   What is a W-9?
 6     A.   It's a tax document that we would typically send to a
 7     client. It has our company's tax ID and it's used to ensure
 8     that, you know, the income that we are generating from that
 9     project is appropriately reported to the IRS.
10     Q.   Okay. Let's start at the bottom, and I'll go ahead and
11     read the email from Mr. Legassa on February 1st, and then
12     I'll ask you about your response.
13                 So he writes, "Hello, Brad. Quick ask, can you
14     please send me Alley's W-9? Regarding the estimate you sent
15     me, what will be the hourly rate? I'm asking because I'll
16     need an invoice to start the admin process internally, and I
17     want to give finance the heads-up. Please send me an invoice
18     for 10 hours for research and discovery for NESN Watch."
19                 And if I can ask you, with respect to your
20     response, I'm only going to ask you to read the last two
21     paragraphs, please.
22     A.   Sure. "As far as time spent thus far, I consider that
23     part of our business development process, and there's no need
24     for us to invoice for that time. We only need to bill for
25     time moving forward. Find our W-9 attached. Happy to answer
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 61 of 185
                                                                        61




 1     any further questions."
 2     Q.   Okay. So did you send anything to Mr. Legassa?
 3     A.   I did not send an invoice at this time, no.
 4     Q.   Why not?
 5     A.   It would be unusual for us to send an invoice prior to
 6     actually signing the master services agreement and statement
 7     of work.
 8     Q.   Okay. And did you send him the W-9?
 9     A.   I did.
10                 MR. SALTZMAN: Can we have Exhibit 150, please,
11     just for the witness.
12     BY MR. SALTZMAN:
13     Q.   Do you recognize this document?
14     A.   Yes, I do.
15     Q.   And what is it?
16     A.   It is another email thread between myself and Ariel
17     Legassa.
18                 MR. SALTZMAN: I'd offer Exhibit 150.
19                 MR. PARKER: No objection.
20                 THE COURT: Exhibit 150 is admitted and may be
21     shown to the jury.
22                 (Exhibit 150 admitted into evidence.)
23                 MR. SALTZMAN: Thank you.
24     BY MR. SALTZMAN:
25     Q.   I'm going to direct your attention -- well, first, the
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 62 of 185
                                                                        62




 1     subject is "project estimate"; is that right?
 2     A.   That is correct.
 3     Q.   All right. I'm going to direct your attention to
 4     Mr. Legassa's email on February 10th at 9:59 a.m. And same
 5     thing, I'm going to read you his email and then I'll ask you
 6     to read the response.
 7                 He writes, "Hello, Brad, I'm still waiting on legal
 8     to get back to me. Can you please send me the first invoice
 9     per the SOW description, and like to have everything ready.
10     Also, I'd like to set up a time to talk about UHD and DTC and
11     what we will need. I think we should think about doing
12     research and discovery work to align NESN's needs and level
13     of effort. I'll send you an invite."
14                 Then I want to direct your attention to your
15     response. And if you could please read it to the jury.
16     A.   Sure. My response was, "So technically I can't invoice
17     you, yet, because a signed contract triggers all the setup in
18     our project management and billing systems. We haven't done
19     that yet. However, once the contracts are signed, we'll be
20     ready to move forward immediately and we won't be holding off
21     on commencing work for invoicing. No worries there. Happy
22     to participate in the research and discovery work on those
23     projects, and we can chat about the scope there during the
24     kickoff for this project, if that sounds good to you."
25     Q.   So how long had passed since the email we previously
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 63 of 185
                                                                        63




 1     reviewed, Exhibit 149, where Mr. Legassa asked you for an
 2     invoice and now asks you for an invoice again in Exhibit 150?
 3     A.   A little over a week.
 4     Q.   Did you send him an invoice when he asked for it the
 5     second time?
 6     A.   No, I did not.
 7     Q.   Why not?
 8     A.   Because, again, we hadn't signed the master services
 9     agreement or statement of work.
10     Q.   Okay. Now moving forward, did there come a time when
11     Alley, your company, and NESN signed a master services
12     agreement and statement of work?
13     A.   Yes, a few weeks after this email thread that we were
14     just reviewing.
15                 MR. SALTZMAN: All right. Can we have Exhibit 36,
16     which is in evidence?
17     BY MR. SALTZMAN:
18     Q.   And I'm just going to ask you briefly about these
19     documents.
20     A.   Uh-huh.
21     Q.   Is this the master services agreement that you were
22     referencing, Mr. Campeau-Laurion?
23     A.   Yes, it is.
24     Q.   And it's dated March 3rd; is that right?
25     A.   That is correct.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 64 of 185
                                                                        64




 1     Q.   And the address that's reflected there, is that your
 2     company address?
 3     A.   Yes, that is our mailing address.
 4     Q.   All right. And I'll just ask you, if we can turn to the
 5     last page, who signed the contract?
 6     A.   I did, as well as Ariel Legassa for NESN.
 7                 MR. SALTZMAN: Okay. And if we could have
 8     Exhibit 37, please.
 9     BY MR. SALTZMAN:
10     Q.   Again, is the first statement of work that you've been
11     referring to --
12     A.   Yes, it is.
13     Q.   -- in the email correspondence?
14     A.   Yes, that's correct.
15     Q.   And it's also dated March 3rd?
16     A.   Yes, it is.
17                 MR. SALTZMAN: And if we could turn to page 7, the
18     last page.
19     BY MR. SALTZMAN:
20     Q.   Did you sign this document?
21     A.   Yes, I did.
22     Q.   And did Mr. Legassa sign the document, as well?
23     A.   Yes, he did as well.
24                 MR. SALTZMAN: Can we have Exhibit 151 just for the
25     witness, please.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 65 of 185
                                                                        65




 1     BY MR. SALTZMAN:
 2     Q.   Do you recognize this document?
 3     A.   Yes, I do.
 4     Q.   What is it?
 5     A.   It is another email thread between myself and Ariel
 6     Legassa, as well as one of my employees.
 7                 MR. SALTZMAN: I'd offer Exhibit 151.
 8                 MR. PARKER: No objection.
 9                 THE COURT: 151 is admitted.
10                 (Exhibit 151 admitted into evidence.)
11                 MR. SALTZMAN: Thank you.
12     BY MR. SALTZMAN:
13     Q.   So the subject is "account setup"; is that correct?
14     A.   Yes, that's correct.
15     Q.   And I want to direct your attention to your email on
16     March 4, 2021. Who is Rebecca Sherman? I see that she's
17     also copied on this email?
18     A.   Yes. At the time she was our director of client
19     services.
20     Q.   Okay. Can you please read the email that you sent to
21     Mr. Legassa?
22     A.   Yes.
23                 "I wanted to introduce you to our director of
24     client services, Rebecca Sherman. She'll be assisting in
25     getting you set up on the business side of things at Alley to
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 66 of 185
                                                                        66




 1     make sure we have information for your primary contacts and
 2     your billing information. I'll let you two take it from
 3     here. Thanks."
 4     Q.   So how soon after the execution of the master services
 5     agreement did you send this email?
 6     A.   Almost immediately.
 7     Q.   Okay. And let's turn to Mr. Legassa's response. He
 8     writes, "Thank you, Brad. Nice to e-meet you, Rebecca.
 9     Please send invoices to me."
10                  Going forward, where did Alley, where did your
11     business, send its invoices to NESN?
12     A.   Directly to Ariel Legassa.
13     Q.   Okay.
14                  MR. SALTZMAN: Can we have Exhibit 173, please.
15     BY MR. SALTZMAN:
16     Q.   Do you recognize this document?
17     A.   Yes, I do.
18     Q.   What is it?
19     A.   It's an email that's automatically generated by our
20     invoicing system.
21     Q.   By Alley Interactive's invoicing system?
22     A.   Yes, that's correct.
23                  MR. SALTZMAN: I'd offer Exhibit 173.
24                  MR. PARKER: No objection.
25                  THE COURT: 173 is admitted and may be shown to the
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 67 of 185
                                                                        67




 1     jury.
 2                 (Exhibit 173 admitted into evidence.)
 3                 MR. SALTZMAN: Thank you.
 4     BY MR. SALTZMAN:
 5     Q.   Can you please read the date and subject of the email?
 6     A.   Yes. The date is March 4, 2021. The subject is "You
 7     have an invoice from Alley Interactive due on April 3, 2021."
 8     Q.   And so what -- we've gone through a few emails. Where
 9     does this one now fall in that timeline of contract execution
10     and sending invoices?
11     A.   Yes. So the contracts had been executed, we had sent the
12     email that we had previously reviewed between myself and
13     Ariel and Rebecca Sherman, and then this email was generated
14     by our invoicing system for the initial payment for Statement
15     of Work Number 1.
16     Q.   And how many times did Mr. Legassa ask you for an invoice
17     before you sent him this invoice on March 4th?
18     A.   He had asked two times. The -- I don't recall him asking
19     more than that.
20     Q.   Okay. And let's take a look at the attachment. What did
21     Alley attach to this email to Mr. Legassa?
22     A.   Yeah, this is our standard invoice template, and this is
23     for a payment that's due upon execution, or signing of the
24     first statement of work.
25     Q.   So the invoice is dated on March 4th; is that right?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 68 of 185
                                                                        68




 1     A.   Yes, that's correct.
 2     Q.   And I'm sorry. When is -- so when would payment have
 3     been due on this invoice?
 4     A.   On April 3rd. All -- for this particular relationship,
 5     our invoicing terms were for payments to be due 30 days from
 6     the sending of an invoice.
 7     Q.   Okay.
 8                  MR. SALTZMAN: We can take this down, please.
 9     BY MR. SALTZMAN:
10     Q.   Did there come a time when Alley and NESN entered into a
11     second statement of work?
12     A.   Yes, later in 2021.
13     Q.   And why was it necessary to enter into a second statement
14     of work?
15     A.   The first statement of work was for a fixed amount of
16     work. We had completed that project; however, there was an
17     ongoing need for our services at NESN. So we decided to
18     enter into a monthly retainer relationship.
19     Q.   And do you recall the amount of the retainer for the
20     monthly relationship?
21     A.   Yes. They were paying us $57,000 per month.
22                  MR. SALTZMAN: Okay. Can we have Exhibit 38?
23     That's in evidence.
24     BY MR. SALTZMAN:
25     Q.   Is this the second statement of work?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 69 of 185
                                                                        69




 1     A.   Yes, it is.
 2                 MR. SALTZMAN: Okay. And can we have the last
 3     page, please?
 4     BY MR. SALTZMAN:
 5     Q.   Is that your signature, Mr. Campeau-Laurion, or your
 6     digital signature, I should say?
 7     A.   Yes. That is my digital signature via DocuSign.
 8     Q.   And what is the date of the second statement of work?
 9     A.   The second statement of work was effective as of July 1st
10     2021, but it was signed on June 8, 2021.
11     Q.   Okay. So did you ever discuss entering into a third
12     statement of work with Mr. Legassa?
13     A.   We did have a brief exchange about potentially expanding
14     the relationship, but it was unclear if that would be an
15     expansion of the retainer, or third statement of work, so
16     officially no.
17     Q.   So when you say a brief discussion, what do you mean by
18     that?
19     A.   Just a brief email exchange about potentially expanding
20     the relationship for some additional projects.
21     Q.   And how long did that discussion go on for?
22     A.   Not very long at all. It was fleeting. Probably just a
23     single email or two.
24     Q.   Okay. And did Alley perform extra work pursuant to
25     statement of work 2, so work outside of that 57K retainer?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 70 of 185
                                                                        70




 1     A.   We did not, no. We stayed within the bounds of that
 2     retainer for the remainder of our relationship with NESN.
 3     Q.   All right. So let's shift gears. I want to ask you
 4     about billing, invoices and checks. You have a binder in
 5     front of you.
 6     A.   Uh-huh.
 7     Q.   And I'm going to ask you to please take a look at
 8     Exhibits 1 through 9 -- all in evidence -- and once you've
 9     done so, I'll ask you to look up.
10                 All right. What are these documents?
11     A.   Those are invoices that were sent by my company, Alley
12     Interactive, to NESN.
13     Q.   And if we take a look at Exhibit 1, which is in
14     evidence --
15                 MR. SALTZMAN: We can put it up for the jury,
16     please. Can we put up Exhibit 1 for the jury, please?
17     Great. Thank you.
18     BY MR. SALTZMAN:
19     Q.   So what is this document?
20     A.   This is an invoice sent by my company, Alley Interactive,
21     to NESN.
22     Q.   Okay. And if -- I want to direct your attention to the
23     top right, where it says "Alley."
24     A.   Yes.
25     Q.   Is that Alley's logo?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 71 of 185
                                                                        71




 1     A.   Yes, it is.
 2     Q.   And does Alley use its logo in other contexts?
 3     A.   On virtually every document that we put out.
 4     Q.   That logo is on it?
 5     A.   Yes. T-shirts, mugs, hats -- you name it.
 6     Q.   All right. And what's the date and amount of the
 7     invoice?
 8     A.   The date of the invoice is April 15, 2021, and the amount
 9     is for $25,000.
10     Q.   And that address on the top left, is that your business
11     address?
12     A.   Yes, it is.
13     Q.   And in the center, what's the description that's
14     provided?
15     A.   Yes, 253-01, Invoice 2 of 3, midproject installments,
16     dated 4/15/21.
17     Q.   I want to ask you about this 253-01. What does that
18     mean?
19     A.   That is our budget code. So the first part, 253, that is
20     NESN's client -- unique client ID, and the 01 means Statement
21     of Work Number 1. So every client, every project, has a
22     unique budget code combination.
23     Q.   That's an Alley budget code?
24     A.   That's correct, yeah.
25     Q.   Okay.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 72 of 185
                                                                        72




 1     A.   It's used by our accounting system.
 2     Q.   So do you see where it says, "For electronic payments
 3     below," and then Chase Bank is listed? The account number is
 4     redacted. Do you see that?
 5     A.   Yes.
 6     Q.   Is that where Alley maintains that bank account?
 7     A.   Yes, that's correct.
 8     Q.   Does Alley bank anywhere else?
 9     A.   We do not.
10     Q.   What about at Santander Bank?
11     A.   We do not.
12     Q.   All right. Let's take a look at Exhibit 9, please. What
13     invoice is reflected here?
14     A.   This is an invoice that we sent to NESN under Statement
15     of Work Number 2 for our monthly retainer payment.
16     Q.   Of $57,000?
17     A.   That's correct.
18     Q.   And where it says description, I'd ask that you read the
19     description.
20     A.   The description says "253-02 November 2021 NESN
21     maintenance."
22     Q.   So what does the "02" correspond to? If 253 is NESN,
23     what's 02?
24     A.   Statement of Work Number 2.
25     Q.   Okay. Do you recall -- consistent with the work that you
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 73 of 185
                                                                        73




 1     did for NESN, do you recall how you were paid by NESN?
 2     A.   Yes. They mailed us a paper check.
 3     Q.   All right. So in that same binder in front of you, can
 4     you take a look at Exhibits 28 through 35, please.
 5                 Do you recognize these documents?
 6     A.   Yes, I do.
 7     Q.   And what are they?
 8     A.   Those are images of checks that were sent by NESN to us
 9     for payment of invoices.
10     Q.   All right. Let's just take a look at one of them.
11                 MS. QUEENIN: Can we have Exhibit 28, please?
12     BY MR. SALTZMAN:
13     Q.   I'll just ask you what the date and amount is.
14     A.   Yeah, the check date is May 20, 2021. The amount is
15     $25,000.
16     Q.   So would this have been statement of work 1, or statement
17     of work 2?
18     A.   This was for payment of an invoice issued under Statement
19     of Work Number 1.
20     Q.   And the pay to the order of, is that your address list
21     there?
22     A.   Yes, that is our address.
23     Q.   And is that the same address that appears on all the
24     checks to your business?
25     A.   Yes.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 74 of 185
                                                                        74




 1                 MR. SALTZMAN: All right. We can take this down,
 2     please.
 3     BY MR. SALTZMAN:
 4     Q.   So, Mr. Campeau-Laurion, I want to ask you about an
 5     entity called Alley Interactive LLC based in Connecticut.
 6     Are you familiar with this entity?
 7     A.   Only in conjunction with this case.
 8     Q.   All right. When did you first learn about Alley
 9     Interactive LLC that had been formed in Connecticut?
10     A.   Yeah, that was in December of 2021.
11     Q.   And how did you learn that?
12     A.   We were doing a routine public records search and, you
13     know, we were just seeing what documents were in the public
14     record about our company. Everything was normal except we
15     found this entity in Connecticut that bore our same name.
16     Q.   And when you made that discovery, did you -- were you
17     able to determine who had created that Alley Interactive in
18     Connecticut?
19     A.   Yes. In the State of Connecticut, you have to use your
20     real legal name on the articles of incorporation that are in
21     the public record, and I did see the owner's name of the
22     company.
23     Q.   And what was the name of the owner?
24     A.   Ariel Legassa.
25     Q.   So what was your reaction when you learned that someone
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 75 of 185
                                                                        75




 1     you were dealing with at NESN had created a business in the
 2     same name as your company, Alley Interactive?
 3                 MR. PARKER: Objection.
 4                 THE COURT: Sustained. You can ask what he did.
 5     We don't need to ask what he was thinking. Go ahead.
 6     BY MR. SALTZMAN:
 7     Q.   What happened next?
 8     A.   I advised our counsel to inform NESN's counsel about our
 9     discovery, so that they could look into it appropriately.
10     Q.   So before the discovery, did you ever have any
11     discussions with Mr. Legassa about creating this entity?
12     A.   Absolutely not.
13     Q.   Was this Alley Interactive in Connecticut in any way
14     related to your company, Alley Interactive?
15     A.   No.
16     Q.   Does Alley Interactive, your company, use an internal
17     email system?
18     A.   Yes, we do.
19     Q.   What is the domain name?
20     A.   Alley.co.
21     Q.   Are you familiar with an email address,
22     alleyinteractivellc@gmail.com?
23     A.   I'm only familiar with it in conjunction with this case.
24     Q.   Is it any -- is it related to your business, Alley
25     Interactive?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 76 of 185
                                                                        76




 1     A.   No, it is not and not in any way.
 2     Q.   Did you ever -- was there ever a discussion of a planned
 3     merger between your business and the Alley Interactive in
 4     Connecticut?
 5     A.   No.
 6     Q.   I want to briefly show you two more sets of documents.
 7     One is Exhibits 10 through 20 in the binder in front of you,
 8     if you can take a look at them.
 9                 What are these documents?
10     A.   These are invoices that bear a resemblance to our invoice
11     template, but these are not invoices that were sent by my
12     company.
13     Q.   Did anyone at your business create these documents?
14     A.   No.
15     Q.   Okay. Let's take a look at two of them.
16                 MR. SALTZMAN: Can we have Exhibit 12, please,
17     that's in evidence?
18     BY MR. SALTZMAN:
19     Q.   So what's depicted here?
20     A.   That is an invoice.
21     Q.   And directing your attention to the logo on the top
22     right, how does that compare to your company logo?
23     A.   That is our logo.
24     Q.   And how does the layout of this invoice compare to the
25     invoices created by your company?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 77 of 185
                                                                        77




 1     A.    The layout is almost identical.
 2     Q.    And the business name on the top left?
 3     A.    That is our business name.
 4     Q.    What about that address?
 5     A.    That is not our address.
 6     Q.    And the description of work?
 7     A.    Yes.
 8     Q.    Do you recognize that billing code and statement of
 9     work -- the billing code and the description provided next to
10     it?
11     A.    I do not recognize them in combination. While the
12     billing code is the valid billing code that we used for
13     Statement of Work Number 2 for NESN, the description doesn't
14     make any sense.
15                  Statement of Work Number 2 was for a monthly
16     retainer, which means that we bill NESN the same amount every
17     month, month over month. There was no execution payment for
18     a retainer statement of work. An execution payment only
19     occurs in a fixed cost project, so to say that there was an
20     execution payment for a retainer statement of work, which was
21     the case with Statement of Work Number 2, makes no sense.
22                  This is not an invoice that we sent.
23                  MR. SALTZMAN: Can we please have Exhibit 17?
24     BY MR. SALTZMAN:
25     Q.    And what's depicted here?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 78 of 185
                                                                        78




 1     A.   That is an invoice.
 2     Q.   And that -- is that your logo on the right?
 3     A.   That is our logo.
 4     Q.   And your company name on the left?
 5     A.   That is our company name.
 6     Q.   And do you recognize the description of work here?
 7     A.   I -- I do not recognize the description.
 8                 MR. SALTZMAN: Can we pull up Exhibit 6 side by
 9     side?
10     BY MR. SALTZMAN:
11     Q.   So on the left we have Exhibit 17, which we were just
12     reviewing, directing payment to an Alley Interactive in
13     Connecticut; and on the right, we have Exhibit 6, directing
14     payment to Alley -- to your business, Alley Interactive.
15                 How do these two invoices compare, to you,
16     Mr. Campeau-Laurion?
17     A.   While they are visually similar, there are some key
18     differences. The invoice on the right, the one that we sent,
19     you know, has our mailing address in New York, which is not
20     present in the one on the left.
21                 Furthermore, the description in the invoice on the
22     left, Exhibit 17, lacks a budget code, whereas the invoice on
23     the right, which we sent, has a budget code, 253-02. We
24     would never send an invoice without a budget code present in
25     the description.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 79 of 185
                                                                        79




 1                 Furthermore, the invoice on the right has our
 2     correct banking information on the bottom, which is missing
 3     on the invoice that's on the left.
 4     Q.   And finally, I just ask you in the binder in front of you
 5     if you can take a look at Exhibits 21 through 27.
 6                 MR. SALTZMAN: And if we can please have Exhibit 21
 7     that's in evidence.
 8     BY MR. SALTZMAN:
 9     Q.   What's the date and amount of this check?
10     A.   The check date is April 1, 2021, and the amount is for
11     $110,000.
12     Q.   And the address of the -- that it was sent to, that's in
13     Connecticut?
14     A.   Yes.
15     Q.   Did your company ever receive this check?
16     A.   No, we did not.
17     Q.   Authorize this check?
18     A.   No.
19     Q.   Did your company receive any of the checks that you just
20     reviewed, Exhibits 21 through 27?
21     A.   Not a single one of them.
22                 MR. SALTZMAN: No further questions.
23                 MR. PARKER: I have a few questions, Your Honor.
24

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     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 80 of 185
                                                                        80




 1               CROSS-EXAMINATION BY COUNSEL FOR THE DEFENDANT
 2     BY MR. PARKER:
 3     Q.   Good morning, Mr. Campeau-Laurion.
 4     A.   Good morning.
 5     Q.   So you --
 6                 MR. PARKER: Could we get Exhibit 150 up, please?
 7     The email where it says, "Hello, Brad."
 8                 This is admitted, right?
 9                 THE COURT: No.
10                 MR. PARKER: Just for the witness, then.
11                 THE COURT: 150 is in.
12                 MR. PARKER: Yeah. That's what I thought.
13     BY MR. PARKER:
14     Q.   Okay. "Hello Brad, I'm still waiting on legal to get
15     back to me."
16                 Right? That's what Mr. Legassa wrote in the email?
17     A.   Yes.
18     Q.   Okay. And it was your testimony that this was in respect
19     to the master service agreement and the first statement of
20     work?
21     A.   Yes. We had sent both documents, and at this time, they
22     were going through legal review at NESN.
23     Q.   That was your understanding, was that Mr. Legassa had to
24     have legal -- the legal department at NESN review the report?
25     A.   That was my understanding, yes.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 81 of 185
                                                                        81




 1     Q.   And that was the master service agreement and the
 2     statement of work you said you drafted, right?
 3     A.   They were drafted by me using templates that were created
 4     by our general counsel.
 5     Q.   Okay. And you sent those over to Mr. Legassa and you
 6     were waiting to hear back from them before you could start up
 7     the work, right?
 8     A.   Yes. It's quite typical for a legal review to happen for
 9     contracts before a new business relationship starts.
10     Q.   So, again, it was your understanding that the process
11     would have to take place at NESN, where their legal
12     department would have to review what you had sent over?
13     A.   Yes, that's correct.
14     Q.   Were there any changes that came back?
15     A.   There were several changes that came back to the master
16     services agreement, which my general counsel and their
17     counsel negotiated over the span of a few weeks.
18     Q.   Okay. So once the first exchange of paperwork happened
19     from --
20     A.   Yes.
21     Q.   -- your company to NESN and NESN sent it back, you and
22     Mr. Legassa kind of backed out of the process, and it was
23     between the two legal departments?
24     A.   Yes, pretty much. Yep.
25     Q.   Did it take a while for a final contract to get approved?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 82 of 185
                                                                        82




 1     A.    From what I recall, the master services agreement took,
 2     yes, somewhere between two and three weeks before it was
 3     finally approved.
 4     Q.    And do you know how many versions went back and forth?
 5     A.    I don't recall the exact number -- certainly at least two
 6     or three.
 7     Q.    Okay. Again, in the middle of this email, Exhibit 150 --
 8     well, before I get to that, you said that you and Mr. Legassa
 9     had a brief exchange about either a third statement of work
10     or an expansion of a second statement of work, right?
11     A.    Yes.
12     Q.    And that those were fleeting discussions, maybe just an
13     exchange of an email or two?
14     A.    Yes.
15     Q.    And were they fleeting because Alley didn't have the
16     resources to put toward any more NESN work?
17     A.    No. Alley had the resources. Mr. Legassa never followed
18     up.
19     Q.    Okay. Back to Number 150 in the middle, the last
20     paragraph under "Hello, Brad" from Mr. Legassa, where he
21     says, "Also, I'd like to set up a time to talk about UHD and
22     DTC," right?
23     A.    Yes.
24     Q.    And he wants Alley to do some research and discovery work
25     in those areas, right?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 83 of 185
                                                                        83




 1     A.   That's what's indicated here, yes.
 2     Q.   Okay. And did you have conversations about that with
 3     Mr. Legassa?
 4     A.   We did, but the agreement was eventually to just handle
 5     that after we signed the contract and started work, which did
 6     occur at the beginning of March 20- --
 7     Q.   What was your understanding of the DTC work that might
 8     come your way?
 9     A.   My understanding was that NESN was moving towards
10     building their own direct to consumer video platform, and the
11     work that we were going to be taking on was going to help
12     enable that.
13     Q.   And did you have discussions with Mr. Legassa about that?
14     A.   Yeah. It was certainly germane to the project.
15     Q.   And did Alley ever really actually do any work on the DTC
16     front?
17     A.   Yes, we did.
18     Q.   Okay. And, again, that was for a NESN DTC project?
19     A.   Yes. It's a project that eventually became NESN 360.
20                 MR. PARKER: Okay. I have no further questions.
21                 THE COURT: Anything on redirect?
22                 MR. SALTZMAN: No, Your Honor.
23                 THE COURT: Thank you. You may step down.
24                 MS. QUEENIN: Your Honor, the government calls
25     Leatha Fisher.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 84 of 185
                                                                        84




 1                 THE COURT: Again, feel free to stretch while we're
 2     changing witnesses.
 3                 THE DEPUTY CLERK: Before you sit, could you please
 4     raise your right hand.
 5                 (Witness duly sworn.)
 6                 THE DEPUTY CLERK: Please state your name for the
 7     record and spell your last name.
 8                 THE WITNESS: Leatha Fisher, F-i-s-h-e-r.
 9                                  LEATHA FISHER
10               having been duly sworn, testified as follows:
11              DIRECT EXAMINATION BY COUNSEL FOR THE GOVERNMENT
12     BY MS. QUEENIN:
13     Q.   Good morning. I'm over here.
14                 Can you pull the microphone closer to you just so
15     you could speak into it? Thank you so much.
16                 Good morning. Where do you work?
17     A.   New England Sports Network.
18     Q.   And how long have you worked at New England Sports
19     Network for?
20     A.   15 years.
21     Q.   What is your title?
22     A.   Accounts payable and payroll manager.
23     Q.   And what was your title in 2021?
24     A.   Accounts payable and payroll supervisor.
25     Q.   Now, in 2021, who did you report to?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 85 of 185
                                                                        85




 1     A.     Mary Breiter.
 2     Q.     Can you tell the jury what your job responsibilities were
 3     as the payroll and accounts payable supervisor in 2021?
 4     A.     Yes. To process payments for all vendors and to process
 5     payroll for all employees.
 6     Q.     Okay. First, I want to focus on the part of your job
 7     where you process payments for employees.
 8     A.     Uh-huh.
 9     Q.     Approximately how many employees does NESN have?
10     A.     NESN has currently or at that time?
11     Q.     At that time, if you know, approximately.
12     A.     Between 200 and 250 employees.
13     Q.     And how are those employees paid?
14     A.     Through ADP system.
15     Q.     What is ADP system?
16     A.     It is our payroll system.
17     Q.     Okay. Now I want to ask you a couple of questions about
18     the part of your job where you work with vendors. Okay?
19     A.     Okay.
20     Q.     Approximately how many vendors does NESN work with at any
21     given time?
22     A.     Not sure the exact number, more than a hundred, I would
23     say.
24     Q.     And as part of your responsibilities, do you set up
25     accounts for vendors at NESN?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 86 of 185
                                                                        86




 1     A.   Yes, I do.
 2     Q.   Tell the jury how you go about setting up an account for
 3     a vendor at NESN.
 4     A.   So vendors -- well, I request the W-9 for all vendors.
 5     Q.   Okay. So what is a W-9?
 6     A.   It's a tax identification form that confirms that it's a
 7     legitimate business and that they have a tax identification
 8     number.
 9     Q.   Other than a W-9 and the name of the vendor, do you need
10     anything else to set up an account for a vendor?
11     A.   No.
12     Q.   What about an invoice? Do you need an invoice to set up
13     an account?
14     A.   No, I don't.
15     Q.   Now, were you responsible for paying vendors in the 2019
16     through 2021 time period?
17     A.   Yes.
18     Q.   Can you tell me about the process by which you go about
19     paying a vendor?
20     A.   Yes. So once the vendor is set up in the system and the
21     invoices are received, then I upload the invoices into our
22     invoice approval system, which is called Fidesic. And it's
23     an electronic approval system, and then invoices are assigned
24     to the manager responsible for the project, or the vendor.
25                 They approve. They get a notification that it's
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 87 of 185
                                                                        87




 1     there to approve. Then, depending on the amount, it goes to
 2     another manager, and then I get a notification when all the
 3     approvals are done --
 4     Q.   Okay.
 5     A.   -- to process.
 6     Q.   That was a lot of info, so we're going to come back to
 7     that later. But I want to switch gears for a second and ask
 8     you are you familiar with an individual named Ariel Legassa?
 9     A.   Yes.
10     Q.   Do you see him seated in the courtroom today?
11     A.   Yes, I do.
12     Q.   Can you just identify him by an item of clothing he's
13     wearing?
14     A.   A black top.
15                  MS. QUEENIN: Can the record reflect that the
16     witness has identified the defendant.
17     BY MS. QUEENIN:
18     Q.   How are you familiar with Ariel Legassa?
19     A.   The former VP of digital at NESN.
20     Q.   And when you say "VP," what do you mean by that?
21     A.   Vice president.
22     Q.   I want to focus your attention now to around March of
23     2021. Did you work with Ariel Legassa at NESN in March of
24     2021?
25     A.   Yes.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 88 of 185
                                                                        88




 1     Q.   Did you notice a change in his behavior around that time?
 2                 MR. PARKER: Objection.
 3                 THE COURT: Why don't you not ask a leading
 4     question.
 5     BY MS. QUEENIN:
 6     Q.   What did you notice about his behavior in March of 2021?
 7                 MR. PARKER: Objection.
 8                 THE COURT: I'll allow that.
 9                 THE WITNESS: Can I answer?
10                 THE COURT: Yes.
11                 THE WITNESS: So the only thing I noticed at that
12     time -- we didn't have much conversation in passing. No
13     words were really said. I just noticed around that time
14     that, you know, he would speak to me more often in passing
15     and in the lounge, you know, "Good morning. How are you?"
16     you know, small talk, nothing much, but that's about it.
17     BY MS. QUEENIN:
18     Q.   And why do you remember that, Ms. Fisher?
19                 MR. PARKER: Objection.
20                 THE COURT: I'm going to allow it.
21                 THE WITNESS: Because there was no communication
22     whatsoever before that.
23                 MS. QUEENIN: Okay. Can I have Exhibit 82 for the
24     witness only.
25     BY MS. QUEENIN:
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 89 of 185
                                                                        89




 1     Q.   Ms. Fisher, on your screen in front of you is a document
 2     that I've marked for identification as Exhibit 82. Do you
 3     recognize the document?
 4     A.   Yes.
 5     Q.   What is it?
 6     A.   It's an invoice -- I'm sorry. It's an email from Ariel
 7     to myself.
 8                 MS. QUEENIN: Your Honor, I'd offer Exhibit 82.
 9                 MR. PARKER: No objection.
10                 THE COURT: 82 is admitted.
11                 (Exhibit 82 admitted into evidence.)
12     BY MS. QUEENIN:
13     Q.   Okay. So now that the jury has this email in front of
14     them, I'm just going to ask you a couple of questions. Can
15     you repeat the date of this email?
16     A.   Yes. March 9, 2021.
17     Q.   And what is the subject line?
18     A.   NESN Watch and 4K Web invoices.
19     Q.   And can you read for me the body of the email, please.
20     A.   "Hello Leatha, I'm attaching invoices from Alley
21     Interactive for NESN Watch and 4K web development. Please
22     send payment to Alley Interactive LLC, 680 East Main,
23     Number 729, Stamford, Connecticut 06901. Thank you."
24     Q.   And up at the top, do you see the section that says
25     "attachments"?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 90 of 185
                                                                        90




 1     A.   Yes.
 2     Q.   I want to take a look at some of those.
 3                  MS. QUEENIN: If we could scroll to the next page.
 4     BY MS. QUEENIN:
 5     Q.   What is this, Ms. Fisher?
 6     A.   This is an invoice from Alley Interactive.
 7     Q.   And what is listed here under the description?
 8     A.   "253-01, execution of SOW 1."
 9     Q.   And what is listed in the upper right-hand corner, the
10     word in the upper right-hand?
11     A.   "Alley."
12     Q.   Focusing your attention on the left-hand side of the
13     document, do you see an entity name listed in the upper
14     left-hand corner?
15     A.   Yes.
16     Q.   What is it?
17     A.   Alley Interactive LLC.
18     Q.   And what is this invoice date?
19     A.   March 4, 2021.
20     Q.   And the amount?
21     A.   25,000.
22     Q.   Okay.
23                  MS. QUEENIN: Can we look at the next page, please?
24     BY MS. QUEENIN:
25     Q.   What is this document?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 91 of 185
                                                                        91




 1     A.   Another invoice for Alley Interactive.
 2     Q.   And same questions, just briefly -- what is the date of
 3     this invoice?
 4     A.   March 4, 2021.
 5     Q.   Do you see an address listed in the upper left-hand
 6     corner of this document?
 7     A.   No.
 8     Q.   And what is the description listed?
 9     A.   253-01 execution of SOW Number 2-1.
10     Q.   And the amount of the invoice?
11     A.   85,000.
12                 MS. QUEENIN: Okay. We can take that down, please.
13     BY MS. QUEENIN:
14     Q.   Was this the first time you received invoices for the
15     entity Alley Interactive?
16     A.   Yes, I believe so.
17                 MS. QUEENIN: Can I have Exhibit 83 for the witness
18     only?
19     BY MS. QUEENIN:
20     Q.   Ms. Fisher, in front of you on the screen is an email
21     that's marked for identification as Exhibit 83. Do you
22     recognize this email?
23     A.   Yes.
24                 MS. QUEENIN: Okay. Your Honor, I'd offer it.
25                 MR. PARKER: No objection.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 92 of 185
                                                                        92




 1                 THE COURT: 83 is admitted and may be shown to the
 2     jury.
 3                 (Exhibit 83 admitted into evidence.)
 4     BY MS. QUEENIN:
 5     Q.   So first I want to direct your attention to the bottom of
 6     the chain. Do you see the email we just reviewed?
 7     A.   Yes.
 8     Q.   And I want to focus now on your response to Mr. Legassa's
 9     email sending the Alley Interactive invoices. How did you
10     respond to that email?
11     A.   "Ariel, can you please have them send W-9 to set them up
12     in the system?"
13     Q.   And why did you request that W-9?
14     A.   It's requested for all vendors, all new vendors.
15     Q.   Okay. And how did Mr. Legassa respond?
16     A.   He sent the W-9 and said, "Here you go. Thank you."
17     Q.   Okay. I want -- do you see an attachment to this email?
18     A.   Yes.
19     Q.   I want to take a look at that.
20                 MS. QUEENIN: Can we scroll to it, please?
21     BY MS. QUEENIN:
22     Q.   What is the entity listed under Section 1 of the form?
23     A.   Alley Interactive LLC.
24     Q.   And what is the address?
25     A.   228 Park Ave South, Number 85467, New York, New York
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 93 of 185
                                                                        93




 1     10003.
 2                 MS. QUEENIN: Okay. And we can take this down.
 3     And if we can go back to the email that we just had up -- I
 4     believe it was 83. And scroll down to the bottom email in
 5     the chain --
 6     BY MS. QUEENIN:
 7     Q.   Can you just remind the jury what the address listed in
 8     the bottom email from Mr. Legassa is?
 9     A.   Sure. 680 East Main, Number 729, Stamford,
10     Connecticut 06901.
11     Q.   And the sentence before that, can you just read it?
12     A.   Sorry. "Hello Leatha, I'm attaching the invoices from
13     Alley Interactive for NESN Watch and 4K web development.
14     Please send payment to: Alley Interactive LLC,
15     680 East Main, Number 729, Stamford, Connecticut 06901."
16                 MS. QUEENIN: Okay. We can take this down, please.
17     BY MS. QUEENIN:
18     Q.   What did you do when you received the W-9 form from
19     Mr. Legassa?
20     A.   I started to -- I actually set up the vendor in our
21     accounting system.
22     Q.   Okay. And what did you do with the invoices that you
23     received from Mr. Legassa?
24     A.   The invoices were uploaded into our invoice approval
25     system, Fidesic.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 94 of 185
                                                                        94




 1     Q.   And that's -- it's pronounced Fi-des-ic?
 2     A.   Yes.
 3     Q.   Okay. And after the invoices were uploaded into the
 4     accounting system, is that consistent with your usual
 5     practice?
 6     A.   Yes.
 7     Q.   Okay. And after you send the invoices to the Fidesic
 8     system, what happens?
 9     A.   They are assigned to the manager that is responsible for
10     approving them.
11     Q.   Okay. And how do you determine what approvers to assign
12     to an invoice?
13     A.   The system defaults to -- depending on the code or the
14     vendor, once it's set up, it goes to the person responsible
15     for the project, or what have you; and depending on the limit
16     of the invoice, it'll go to a second approver.
17     Q.   Okay. So in the 2021 time period, was there a dollar
18     limit on what type of invoices vice presidents like
19     Mr. Legassa could approve?
20     A.   Yes.
21     Q.   And focusing on Mr. Legassa individually, what was the
22     dollar limit for the invoices Mr. Legassa personally could
23     approve?
24     A.   50,000.
25     Q.   And what if the invoice was under $50,000? What happened
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 95 of 185
                                                                        95




 1     in that instance?
 2     A.   I'm sorry? Repeat that.
 3     Q.   If an invoice was under $50,000 -- so for example,
 4     48,500, or 49,000 -- what would happen to that invoice?
 5     A.   He would be the only approver.
 6     Q.   Okay. And what about if an invoice was over $50,000?
 7     A.   It would go to another approver.
 8     Q.   Okay. And how do you know when a payment gets approved
 9     in the Fidesic system?
10     A.   I receive a notification from Fidesic.
11     Q.   Okay. And what happens after that?
12     A.   After they're all approved, I get my notification. Then
13     I'm able to pull the invoice into a batch and post it into
14     our accounting system to be paid.
15     Q.   Okay. And what happens after you have the payments
16     posted to the accounting system?
17     A.   The invoice is in open status ready to be processed.
18     Then I can process it in my next check run, or whenever the
19     invoice is due.
20     Q.   You said you could process it in your next check run.
21     What is a check run?
22     A.   It's when I run checks, so a batch of checks that I run
23     for invoices that are approved and ready to be paid.
24     Q.   Okay. And what does that involve?
25     A.   It's check printing, so it's actually printing to live
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 96 of 185
                                                                        96




 1     paper stock NESN checks, basically, just printing them and
 2     then attaching the invoice to the check, and then I give them
 3     to our CFO.
 4     Q.     Okay. And approximately how many checks -- I'm not
 5     asking for an exact number -- but, generally, how many checks
 6     are in each check run?
 7     A.     It could be anywhere from -- I don't know -- 75 or more.
 8     Q.     Okay. And how often did you do these check runs?
 9     A.     Twice a week.
10     Q.     Okay. Once the checks are printed and you give them
11     to -- who do you provide them to for signature in 2021?
12     A.     A CFO.
13     Q.     And who was that?
14     A.     It was Ray Guilbault.
15     Q.     And after you receive his signatures on the checks, what
16     happens next?
17     A.     If the checks are over 50,000, they would go to our
18     president, or the next in line to sign.
19     Q.     Okay. And then what?
20     A.     And then they would come back to me to, basically, take
21     off the remittence, put them, attach them to the invoice, and
22     put the checks in the envelope to mail them, to mail them
23     out.
24     Q.     Okay. And did you follow that process every time you did
25     a check run?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 97 of 185
                                                                        97




 1     A.    Yes.
 2     Q.    And in 2021, did NESN typically pay the majority of its
 3     vendors by check?
 4     A.    Yes.
 5     Q.    And were all of those checks sent in the mail?
 6     A.    Yeah.
 7     Q.    What mail service does --
 8     A.    United States Postal Service.
 9     Q.    Sorry?
10     A.    United States Postal Service.
11     Q.    Thank you.
12                   MS. QUEENIN: For the witness and the jury, can I
13     have Exhibit 21, please. This is in evidence.
14     BY MS. QUEENIN:
15     Q.    Can you read for me this check date?
16     A.    April 1, 2021.
17     Q.    And what is the amount of this check?
18     A.    110,000.
19     Q.    And who is it payable to?
20     A.    Alley Interactive LLC.
21     Q.    And just the city and state.
22     A.    Stamford, Connecticut.
23     Q.    Okay. What is that amount, 110 -- $110,000 correspond
24     to?
25     A.    The two previous invoices we just saw.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 98 of 185
                                                                        98




 1     Q.   Okay.
 2                  MS. QUEENIN: Can I have Exhibit 85 for the witness
 3     only. 85?
 4     BY MS. QUEENIN:
 5     Q.   Ms. Fisher, on the screen in front of you is an email.
 6     Do you recognize it?
 7     A.   Yes.
 8                  MS. QUEENIN: Your Honor, I'd offer Exhibit 85.
 9                  MR. PARKER: No objection.
10                  THE COURT: 85 is admitted.
11                  (Exhibit 85 admitted into evidence.)
12     BY MS. QUEENIN:
13     Q.   Okay. So I want to focus on the bottom email first and I
14     believe it spans two pages. So let's leave the viewer like
15     this. And if we can zoom in, I'm going to ask you to read
16     the email. So if we can zoom in on the second page and you
17     could start reading.
18     A.   Okay. "I need your help creating a separate account for
19     Alley Interactive. We recently sent payment to them for two
20     invoices, Alley 06, Invoice 4118 and 4508. Alley is helping
21     us with two big projects, NESN Watch and NESN 4K. They have
22     two entities working together, but separately incorporated.
23     They plan to merge the two entities at the end of the year
24     and they asked me to please create a separate account and
25     send payment separately until then.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 99 of 185
                                                                        99




 1                 "Alley is a small company with diverse developers
 2     that I would like to help as much as possible, significantly,
 3     if we can save them any money. They help us tremendously
 4     with projects like 4K that we ask them to work on without
 5     previous notice.
 6                 "I'm not sure how you create the accounts in the
 7     system, but the only thing we need to change in the existing
 8     Alley account is the EIN number."
 9     Q.   And then if you can continue, just the two -- can you
10     summarize for me the two entities that are listed there?
11     A.   Alley Interactive LLC (4K Engineering) and Alley
12     Interactive LLC (Web Development).
13     Q.   And the Alley Interactive LLC that says 4K Engineering,
14     what city and state is listed?
15     A.   Stamford, Connecticut.
16     Q.   And what about the other one, Alley Interactive LLC, Web
17     Development?
18     A.   New York, New York.
19                 MS. QUEENIN: And if you could scroll down,
20     Ms. Hallagan, so that the witness can read the remainder of
21     the email.
22                 THE WITNESS: "I plan to call you tomorrow in case
23     you have any questions. Thank you very much in advance and
24     I'm sorry to bother you."
25                 MS. QUEENIN: Okay. And if we could scroll up,
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 100 of 185
                                                                         100




 1     please.
 2     BY MS. QUEENIN:
 3     Q.    What is the date on that email?
 4     A.    April 8, 2021.
 5     Q.    Okay.
 6                   MS. QUEENIN: And if we could scroll down.
 7     BY MS. QUEENIN:
 8     Q.    Ms. Fisher, what is Mr. Legassa asking you to do here
 9     internally?
10                   MR. PARKER: Objection.
11                   THE COURT: Sustained.
12     BY MS. QUEENIN:
13     Q.    What did you do based on Mr. Legassa's email?
14     A.    I set up Alley Interactive vendor and set up two separate
15     addresses for the two different projects.
16     Q.    Why did you do that?
17     A.    Because he asked me to do it. He was a VP. I trusted
18     that his explanation was all I needed in order to do so.
19     Q.    Okay. And did you know anything about Alley Interactive?
20     A.    No, I did not.
21     Q.    Did you know whether there were two entities working
22     together, but separately incorporated?
23     A.    No, I did not.
24     Q.    Did you know whether those entities planned to merge at
25     the end of the year?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 101 of 185
                                                                         101




 1                  MR. PARKER: Objection. She said she knows nothing
 2     about the two entities.
 3                  THE COURT: Sustained.
 4                  MS. QUEENIN: If we could scroll up, please.
 5     BY MS. QUEENIN:
 6     Q.    How did you respond to Mr. Legassa's email asking you to
 7     set up two different addresses in the system for Alley
 8     Interactive LLC?
 9     A.    "Okay. Easy enough. I will make the changes in the
10     system. Since I don't know Web from 4K invoices, I would
11     need them marked as such when received. I will confirm when
12     I set them up, and moving forward, they will be separate."
13     Q.    What are these references to web and 4K?
14     A.    I guess they're two projects that NESN was working on,
15     but I'm not too familiar with them. I just --
16     Q.    Okay. Let's scroll down in the email. Do you see
17     Mr. Legassa's email to you, and do you see where he wrote "4K
18     engineering"?
19     A.    Yes.
20     Q.    What entity -- or what city and state does he correspond
21     with the alleged engineering project?
22     A.    Stamford, Connecticut.
23                  MR. PARKER: Objection, Your Honor.
24                  THE COURT: Sustained.
25
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 102 of 185
                                                                         102




 1     BY MS. QUEENIN:
 2     Q.    What city and state does the web development project?
 3     A.    New York, New York.
 4     Q.    And -- okay.
 5                   MS. QUEENIN: We can exit out of this.
 6     BY MS. QUEENIN:
 7     Q.    And what was Mr. Legassa's response to you?
 8     A.    "Thank you so much, Leatha. I will mark each invoice,
 9     and if you send me the new code, the new vendor code, I can
10     help you categorizing.
11                   "Again, thank you for always helping me."
12                   MS. QUEENIN: Okay. And we can take this down.
13     BY MS. QUEENIN:
14     Q.    You mentioned earlier that you need a W-9 to set up a
15     vendor account. Did you ask Legassa for another W-9 form for
16     Alley Interactive?
17     A.    No. I already had one.
18     Q.    Okay.
19                   MS. QUEENIN: Can I have Exhibit 88 for the witness
20     only.
21     BY MS. QUEENIN:
22     Q.    There's a document on the screen in front of you marked
23     as Exhibit 88. Do you recognize this email?
24     A.    Yes.
25                   MS. QUEENIN: Your Honor, I'd offer Exhibit 88.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 103 of 185
                                                                         103




 1                 MR. PARKER: No objection.
 2                 THE COURT: 88 is admitted.
 3                 (Exhibit 88 admitted into evidence.)
 4                 THE COURT: It may be shown to the jury.
 5     BY MS. QUEENIN:
 6     Q.    Ms. Fisher, who is this email from?
 7     A.    Ariel Legassa.
 8     Q.    And who is it to?
 9     A.    Me.
10     Q.    What is the subject line?
11     A.    "Alley 06-Engineering-Invoice Number 4518."
12     Q.    And can you please read for me the body of this email?
13     A.    "Hello Leatha, can you please process the invoice under
14     Alley Engineering?"
15                 MS. QUEENIN: And can we scroll to the next page?
16     BY MS. QUEENIN:
17     Q.    What address is listed for Alley engineering in the upper
18     left-hand corner?
19     A.    The Stamford Connecticut address.
20     Q.    And what is the amount of this invoice?
21     A.    85,000.
22     Q.    And what is this invoice date?
23     A.    April 9, 2021.
24                 MS. QUEENIN: Okay. We can take this down. We can
25     take this down and can we have Exhibit 89 for the witness
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 104 of 185
                                                                         104




 1     only.
 2     BY MS. QUEENIN:
 3     Q.    Ms. Fisher, there's a document on your screen marked for
 4     identification as Exhibit 89. Do you recognize this?
 5     A.    Yes.
 6     Q.    What is it?
 7     A.    Another email from Ariel to myself.
 8                  MS. QUEENIN: Your Honor, I'd offer Exhibit 89.
 9                  MR. PARKER: No objection.
10                  THE COURT: 89 is admitted.
11                  (Exhibit 89 admitted into evidence.)
12     BY MS. QUEENIN:
13     Q.    Ms. Fisher, now that this is in front of the jury, can
14     you tell me who this email is from, who it's to, and what the
15     date is?
16     A.    From Ariel Legassa to me, dated April 2021.
17     Q.    And can you read this email to the jury?
18     A.    "Hello Leatha, can you please process the invoice under
19     Alley Engineering?"
20                  MS. QUEENIN: And can we scroll to the attached
21     invoice.
22     BY MS. QUEENIN:
23     Q.    Again, what is the address listed with this invoice for
24     Alley Engineering?
25     A.    The Stamford, Connecticut address.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 105 of 185
                                                                         105




 1     Q.    And what is the amount of this invoice?
 2     A.    50,000.
 3     Q.    And what is the date?
 4     A.    April 9, 2021.
 5                   MS. QUEENIN: Okay. We can take this down.
 6                   And can I have Exhibit 22 which is already in
 7     evidence, for the witness and the jury?
 8     BY MS. QUEENIN:
 9     Q.    Ms. Fisher, what is this?
10     A.    A NESN check to Alley Interactive.
11     Q.    And what's the amount?
12     A.    135,000.
13     Q.    What does that correspond to?
14     A.    The previous two invoices we just looked at.
15     Q.    Okay.
16                   THE COURT: If this is a good time, it's
17     eleven o'clock.
18                   MS. QUEENIN: It is.
19                   THE COURT: A good place to break?
20                   MS. QUEENIN: Thank you.
21                   THE COURT: Please don't talk about the case.
22     Hopefully, your snacks are there. We'll see you in
23     20 minutes.
24                   All rise for the jury.
25                   (Jury not present.)
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 106 of 185
                                                                         106




 1                 THE COURT: Anything we need to address on the
 2     break?
 3                 MR. SALTZMAN: No, Your Honor.
 4                 MR. PARKER: No, Your Honor.
 5                 THE COURT: All right. We're on break. We'll see
 6     you all at 11:19.
 7                 THE DEPUTY CLERK: All rise.
 8                 (Court in recess at 11:01 a.m.
 9                 and reconvened at 11:22 a.m.)
10                 THE COURT: Do you want to go get the jury for us?
11                 THE DEPUTY CLERK: Yes, Your Honor.
12                 THE COURT: Thank you.
13                 There's no -- just in terms of timing, we need to
14     tell the jury before they leave today, tomorrow while we may
15     get to -- I guess the question is, is there a chance they'll
16     start deliberations tomorrow?
17                 MS. QUEENIN: That's up to Mr. Parker, I think, and
18     what he's doing.
19                 THE COURT: So I'll warn them that there's a chance
20     they may need to clear their calendar for tomorrow afternoon.
21                 (Juror present.)
22                 MS. QUEENIN: May I proceed, Your Honor?
23                 THE COURT: Yes, you may.
24                 MS. QUEENIN: Thank you. I'll just give the jurors
25     a second to get the screens out.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 107 of 185
                                                                         107




 1     BY MS. QUEENIN:
 2     Q.    Ms. Fisher, before we took our break, do you recall we
 3     looked at two emails attaching invoices for Alley Engineering
 4     in Stamford, Connecticut?
 5     A.    Yes.
 6     Q.    In addition to those two emails, did the defendant send
 7     you other emails attaching invoices for Alley Interactive in
 8     Connecticut?
 9     A.    Yes.
10     Q.    In front of you are a few folders, and there's one that's
11     marked as Exhibits 93 through 95, and it also lists 103, 107,
12     112, 114, and 115. I just want you to take a look through
13     that folder and then look up when you're done.
14     A.    Okay.
15     Q.    What are the emails in that folder and do you recognize
16     them?
17     A.    Yes. They are all emails for Alley Engineering.
18     Q.    And who are they from and who are they to?
19     A.    From Ariel Legassa to myself.
20                   MS. QUEENIN: Your Honor, I'd offer that range and
21     I'm happy to read it again, if necessary.
22                   MR. PARKER: No objection.
23                   THE COURT: 93 through 95 and 103, 107, 112, 114,
24     and 115 are admitted.
25                   MS. QUEENIN: That's correct.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 108 of 185
                                                                         108




 1                 (Exhibits 93– 95 and 103, 107, 112, 114, and 115
 2                 admitted into evidence.)
 3     BY MS. QUEENIN:
 4     Q.    Now, Ms. Fisher, we're not going to go through every one
 5     of those emails in detail, and for the jury they'll be in
 6     evidence. But I'd like to briefly go through them so the
 7     Judge can -- so the jury can at least see them. And I would
 8     just ask you to read the date of each of the emails as
 9     Ms. Hallagan puts it on the screen, as well as what entity
10     the defendant is referencing in the emails.
11                 So let's start with Exhibit 93, please. So what is
12     the date of this email?
13     A.    May 17, 2021.
14     Q.    And the entity?
15     A.    Alley Engineering.
16     Q.    94, please. And by the way, I guess before we move on --
17                 MS. QUEENIN: Ms. Hallagan, can you just scroll to
18     the attached invoice.
19     BY MS. QUEENIN:
20     Q.    What entity is -- what city and state is that entity
21     located?
22     A.    Stamford, Connecticut.
23     Q.    Okay. 94?
24     A.    June 1, 2021.
25     Q.    And the entity?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 109 of 185
                                                                         109




 1     A.    Oh, sorry. Alley Engineering.
 2     Q.    Okay.
 3                   MS. QUEENIN: And can we take a look at the -- just
 4     city and state for the entity on the invoice.
 5                   THE WITNESS: Stamford, Connecticut.
 6     BY MS. QUEENIN:
 7     Q.    Okay. 95, please?
 8     A.    June 4, 2021.
 9     Q.    And the entity?
10     A.    Alley Engineering.
11     Q.    And the city and state of the entity listed on the
12     invoice?
13     A.    Stamford, Connecticut.
14     Q.    And I think that we are now on 103?
15     A.    Yes.
16     Q.    Same questions -- what's the date of the email?
17     A.    July 29, 2021.
18     Q.    What is the entity referenced in the invoice?
19     A.    Alley Engineering.
20                   MS. QUEENIN: And can we scroll to the invoice?
21     BY MS. QUEENIN:
22     Q.    And can you read for me the city and state of the
23     invoice?
24     A.    Stamford, Connecticut.
25     Q.    Okay. Great. 107, please.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 110 of 185
                                                                         110




 1     A.    September 13, 2021.
 2     Q.    And the entity referenced?
 3     A.    Alley Engineering.
 4     Q.    And the city and state?
 5     A.    Stamford, Connecticut.
 6     Q.    Next up, 112.
 7     A.    October 28, 2021.
 8     Q.    And the entity?
 9     A.    Alley Engineering.
10     Q.    And the city and state?
11     A.    Stamford, Connecticut.
12     Q.    Okay. 114?
13     A.    December 8, 2021.
14     Q.    And the entity?
15     A.    Alley Engineering.
16     Q.    And city and state?
17     A.    Stamford, Connecticut.
18     Q.    Okay. And 115?
19     A.    January 3, 2022.
20     Q.    And the entity?
21     A.    Alley Engineering.
22     Q.    And the city and state on that attached invoice?
23     A.    Stamford, Connecticut.
24     Q.    Okay. Now, also in front of you is a packet of checks,
25     and those are in evidence as Exhibits 23 through 27. I just
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 111 of 185
                                                                         111




 1     want you to take a look at those checks and look up when
 2     you're done.
 3                  MS. QUEENIN: And we can take this down, please.
 4                  THE WITNESS: Okay.
 5                  MS. QUEENIN: And we can pull up Exhibit 23 as an
 6     example, please.
 7     BY MS. QUEENIN:
 8     Q.    What are the checks, Ms. Fisher -- in the packet in front
 9     of you, Exhibits 23 through 27, what entity are those checks
10     payable to?
11     A.    To Alley Interactive Engineering.
12     Q.    And -- but in terms of the entity listed on the check,
13     what is the entity listed and the city and state?
14     A.    Alley Interactive, Stamford, Connecticut.
15     Q.    Okay. Did you generate those checks, Ms. Fisher?
16     A.    Yes.
17     Q.    Why?
18     A.    I had the invoices for all of these.
19     Q.    And what --
20                  MS. QUEENIN: Can I have Exhibit 156?
21     BY MS. QUEENIN:
22     Q.    Do you recognize this chart, Ms. Fisher?
23     A.    Yes.
24     Q.    What does this chart show?
25     A.    The dates of all the invoices.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 112 of 185
                                                                         112




 1     Q.     And how do you know that?
 2     A.     I just looked at them.
 3     Q.     Were all of these invoices for Alley Connecticut paid by
 4     NESN?
 5     A.     All except the last two.
 6     Q.     And based upon your position as an accounts payable
 7     supervisor at the time, do you know what happened to those
 8     last two invoices that are listed in the amount of $48,500?
 9     A.     They were voided out of our accounting system.
10     Q.     Did you say they were voided out of the accounting
11     system?
12     A.     Yes.
13     Q.     Okay. And focusing your attention on the invoice dates
14     3/4/21, starting with the first one, through 10/28/21, did
15     you cut checks for each of those invoices?
16     A.     Yes.
17     Q.     I now want to show you what's been marked as Exhibit 98.
18                   MS. QUEENIN: And this is for the witness only for
19     now.
20     BY MS. QUEENIN:
21     Q.     Do you recognize the document in front of you,
22     Ms. Fisher?
23     A.     Yes.
24     Q.     What is it?
25     A.     It's an email chain from Ariel to myself.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 113 of 185
                                                                         113




 1                 MS. QUEENIN: Your Honor, I'd offer Exhibit 98.
 2                 MR. PARKER: No objection.
 3                 THE COURT: 98 is admitted and may be shown to the
 4     jury.
 5                 (Exhibit 98 admitted into evidence.)
 6     BY MS. QUEENIN:
 7     Q.    Okay. And I think I'd like to start at the bottom of
 8     this chain. And if you could read for me the date of the
 9     email and please read the email for the jury.
10     A.    June 21, 2021.
11     Q.    And then if you could read the email?
12     A.    Yes. "Hello, Leatha, I hope you had a great weekend.
13     Alley 06 is missing payment for the 85K invoice.
14                 "Let's wait until the end of the week to see if
15     they receive it; if not, how long it will take to issue a new
16     check? Best."
17     Q.    And if we could just scroll up. You respond -- "sent out
18     last week on 6/15." And how does Mr. Legassa respond?
19     A.    "Thank you. I'll let them know."
20     Q.    When the defendant said to you, "Let's wait to see if
21     they receive it," who did you think "they" was referring to?
22     A.    The vendor --
23                 MR. PARKER: Objection.
24                 THE COURT: Hold --
25                 THE WITNESS: -- Alley Interactive.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 114 of 185
                                                                         114




 1                   THE COURT: Hold on. When there's an objection you
 2     have to stop.
 3                   Her understanding is fine.
 4                   You may answer.
 5     BY MS. QUEENIN:
 6     Q.    Who did you think "they" was referring to in the sentence
 7     in the defendant's bottom email, "Let's wait until the end of
 8     the week to see if they receive it"?
 9     A.    The vendor, Alley Interactive.
10     Q.    Okay. Also in front of you --
11                   MS. QUEENIN: We can take this down.
12     BY MS. QUEENIN:
13     Q.    -- is a packet of emails. It's also a range, which I'll
14     read into the record. It's Exhibit 87, 90 through 91, 100
15     through 102, 106, 109 through 111, and 113. So take a minute
16     and look at those, and then if you could please just look up
17     when you're done.
18     A.    Okay.
19     Q.    Do you recognize those documents?
20     A.    Yes.
21     Q.    What are they?
22     A.    Emails from Ariel to myself, attaching invoices.
23                   MS. QUEENIN: Your Honor, I'd offer that range of
24     exhibits and I'm happy to read the range again if it would be
25     helpful.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 115 of 185
                                                                         115




 1                   MR. PARKER: No objection.
 2                   THE COURT: Exhibits 87, 90 and 91, 100
 3     through 102, 106, 109 through 111, and 113 are all admitted.
 4                   (Exhibits 87, 90 and 91, 100–102, 106, 109–111, and
 5                   113 admitted into evidence.)
 6                   MS. QUEENIN: Okay. And if we could pull up 87 as
 7     an example.
 8     BY MS. QUEENIN:
 9     Q.    Ms. Fisher, I'd like to do the same thing we did with the
10     last group of emails and just go through them briefly so the
11     jury can see the documents. You don't have to read each
12     email, but we're going to go over the date and the invoice
13     location where applicable. Okay?
14     A.    Sure.
15     Q.    So let's start with Exhibit 87. What's the date of this
16     email and what entity does it reference?
17     A.    April 13, 2021, Alley Web.
18     Q.    And let's take a look at the invoice. And what is
19     just -- you don't have to read the whole address, but the
20     city and state listed?
21     A.    New York, New York.
22     Q.    Okay. Great. Exhibit 90, please. And same thing, what
23     the date of this email?
24     A.    May 12, 2021.
25     Q.    And let's take a look at the invoice. What is the city
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 116 of 185
                                                                         116




 1     and the state?
 2     A.    New York, New York.
 3     Q.    91, please. What is the date of this email?
 4     A.    May 13, 2021.
 5     Q.    And let's take a look at the invoice, and what is the
 6     city and state listed there?
 7     A.    New York, New York.
 8     Q.    Okay. Exhibit 100, please. What is the date of this
 9     email?
10     A.    July 8, 2021.
11     Q.    And the entity listed in the body of the email? In all
12     capitals. I'm sorry? I couldn't hear you.
13     A.    Alley Web.
14     Q.    Thank you.
15                 And the city and state listed?
16     A.    New York, New York.
17     Q.    I've now lost track, but I think we're on 101. Great.
18                 What is the date of this email, Ms. Fisher?
19     A.    July 22, 2021.
20     Q.    And what entity is listed?
21     A.    Alley Web.
22     Q.    And let's take a look at the attachment. What is the
23     city and state?
24     A.    New York, New York.
25     Q.    102, please. The date of this email?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 117 of 185
                                                                         117




 1     A.    July 22, 2021.
 2     Q.    The subject?
 3     A.    Alley Web.
 4     Q.    And if we could just take a look at that invoice, city
 5     and state?
 6     A.    New York, New York.
 7     Q.    106, please. What is the date of this email?
 8     A.    September 3, 2021.
 9     Q.    And taking a look at the invoice, the city and state?
10     A.    New York, New York.
11     Q.    109, please. What is the date of this email?
12     A.    October 5, 2021.
13     Q.    Let's take a look at the invoices. What are the city and
14     states listed?
15     A.    New York, New York.
16                 MS. QUEENIN: And we could take this down. I
17     believe we're on 113 or 111? Let's do 111.
18     BY MS. QUEENIN:
19     Q.    What is the date of this email?
20     A.    October 8, 2021.
21     Q.    And the address?
22     A.    New York, New York.
23     Q.    And, finally, 113.
24     A.    November 5, 2021.
25     Q.    And the address on the invoice?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 118 of 185
                                                                         118




 1     A.    New York New York.
 2     Q.    In front of you --
 3                   MS. QUEENIN: We could take this down.
 4     BY MS. QUEENIN:
 5     Q.    In front of you is also a packet of checks. Those are
 6     already in evidence as Exhibits 28 through 35. Just take a
 7     look at them and look up when you're done, if you wouldn't
 8     mind. Thank you.
 9     A.    Okay.
10                   MS. QUEENIN: And let's pull up Exhibit 28 as an
11     example.
12     BY MS. QUEENIN:
13     Q.    What entities are checks 28 through 35 payable to?
14     A.    To Alley Interactive, New York, New York.
15     Q.    Okay. Great.
16                   Ms. Fisher, in 2021, how many vendors named Alley
17     Interactive did you think NESN was working with? How many
18     vendors?
19     A.    One.
20     Q.    Why did you think that?
21                   MR. PARKER: Objection.
22                   THE COURT: I'm going to allow it. Go ahead.
23     BY MS. QUEENIN:
24     Q.    Why did you think there was one entity that you were
25     working with, or one vendor named Alley Interactive?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 119 of 185
                                                                         119




 1     A.    Because I was told there was -- it was one vendor with
 2     just two separate addresses.
 3     Q.    Who told you that?
 4     A.    Ariel Legassa.
 5     Q.    Based upon your 15 years of experience managing payroll
 6     and vendor payments at NESN, are you aware of any instances
 7     where an employee has actually been paid as a vendor?
 8     A.    No.
 9                  MS. QUEENIN: No further questions.
10                  THE COURT: Your witness.
11                 CROSS-EXAMINATION BY COUNSEL FOR THE DEFENDANT
12     BY MR. PARKER:
13     Q.    Good morning, Ms. Fisher.
14     A.    Good morning.
15     Q.    I think that you might have testified that invoices came
16     from Alley to Mr. Legassa directly, and then he submitted
17     them to you; is that correct?
18     A.    That -- yes.
19     Q.    And that was something that wasn't unusual at -- at NESN,
20     right?
21     A.    No.
22     Q.    Some of the other VPs or department heads would like to
23     get the invoices directly from their vendors before they
24     passed them in to you for processing, right?
25     A.    Yes, that happens.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 120 of 185
                                                                         120




 1     Q.    Okay. The invoices that were marked --
 2                  MR. PARKER: Well, could we pull up Exhibit 82,
 3     please?
 4     BY MR. PARKER:
 5     Q.    Okay. So Exhibit 82 is an email from you on the first --
 6     to you from Mr. Legassa on the first page, right?
 7     A.    Yes.
 8     Q.    And this is the first, I think you said, invoices that
 9     you ever got for Alley, right?
10     A.    Yes.
11                  MR. PARKER: And can we go to the next page,
12     please?
13     BY MR. PARKER:
14     Q.    There's no address on the second page of Exhibit 82,
15     right?
16     A.    No.
17                  MR. PARKER: And can we go to the third page?
18     Thank you.
19     BY MR. PARKER:
20     Q.    Same with the third page, right?
21     A.    No address.
22     Q.    Okay. Did you handwrite in an address on one of these
23     invoices?
24     A.    There's no --
25                  MS. QUEENIN: Objection. I --
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 121 of 185
                                                                         121




 1                   THE COURT: It's a fair question. Go ahead.
 2                   MS. QUEENIN: The document doesn't show a --
 3                   THE COURT: It --
 4                   MS. QUEENIN: Okay.
 5                   THE COURT: The question is a question to the
 6     witness.
 7                   MS. QUEENIN: Okay.
 8     BY MR. PARKER:
 9     Q.    Did you handwrite in an address on one of these invoices?
10     A.    No. There's no address.
11     Q.    Okay.
12                   MR. PARKER: Can we go back to the second page of
13     this, please? And then can we put side by side with
14     Exhibit 10, please?
15     BY MR. PARKER:
16     Q.    Do you see Exhibit 10?
17     A.    Yes, I do.
18     Q.    And there's a handwritten address there, right?
19     A.    Yes.
20     Q.    Is that your handwriting?
21     A.    That is.
22     Q.    So you wrote that address in from information that you
23     got from Mr. Legassa, I believe, right?
24     A.    Yes.
25     Q.    Okay. The invoice references scope of work -- or
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 122 of 185
                                                                         122




 1     Statement of Work Number 1, right? On Exhibit 10, the line
 2     description, execution of SOW 1?
 3     A.    I'm sorry; what was the question?
 4     Q.    Okay. Do you know what SOW stands for on this invoice?
 5     Is it statement of work?
 6     A.    I do now. I wasn't aware.
 7     Q.    Okay. You didn't before now?
 8     A.    No.
 9     Q.    Fair enough. Then that saves me some questions.
10                  Is it unusual to have an invoice from a vendor that
11     doesn't have a preprinted address on it?
12     A.    You said is it unusual?
13     Q.    Yes.
14     A.    They don't all come with an address, so no.
15     Q.    Okay. The majority of the time, do they come with an
16     address?
17     A.    Majority, yes.
18     Q.    Like, 90 percent of the time? 80, 95?
19                  MS. QUEENIN: If she knows.
20                  THE COURT: That's all she can testify to is what
21     she knows.
22                  Go ahead.
23                  THE WITNESS: I don't know. I would say maybe
24     80 percent do.
25     BY MR. PARKER:
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 123 of 185
                                                                         123




 1     Q.    Okay. Is it unusual for an invoice to come in for a
 2     vendor for over $100,000 without a preprinted address on an
 3     invoice?
 4     A.    I'm sorry; repeat the question?
 5     Q.    Yeah. So 80 percent of all invoices come in and they
 6     have a preprinted address on them, right?
 7     A.    Yeah.
 8     Q.    Okay. My next question is, for invoices that are over
 9     $100,000, is it a different percentage? How many have you
10     seen where there is no preprinted address on an invoice for
11     an amount over $100,000?
12                   MS. QUEENIN: Objection, Your Honor.
13                   THE COURT: I'm going to allow it. Go ahead.
14                   THE WITNESS: I'm not exactly sure exactly how
15     many; but, again, most of them do have an address on them.
16     BY MR. PARKER:
17     Q.    Okay. Did the fact that there was no address written on
18     these first two invoices for Alley that you got from
19     Mr. Legassa raise an issue in your mind?
20     A.    It did not at the time.
21     Q.    So you didn't raise that with anyone?
22     A.    No.
23     Q.    Okay. You prepared the check that corresponded to these
24     two invoices, right?
25     A.    Yes.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 124 of 185
                                                                         124




 1                  MR. PARKER: We can take these down.
 2     BY MR. PARKER:
 3     Q.    And then it was your practice to put the check and the
 4     corresponding invoices together, and would you walk them to
 5     Mr. Guilbault for his signature?
 6     A.    Yes.
 7     Q.    He had to sign every check, whether it was below or above
 8     $50,000, right?
 9     A.    Correct.
10     Q.    Okay. And if it was above $50,000, he had to approve it
11     as well, right?
12     A.    I'm sorry? Repeat that?
13     Q.    He had to, in addition to signing every check, if the
14     check was for more than $50,000, he had to approve it in the
15     Fidesic --
16     A.    Yes, Fidesic.
17     Q.    So he had to approve anything over $50,000, right?
18     A.    Correct.
19     Q.    And he had to sign every check, right?
20     A.    Correct.
21     Q.    And if the check was more than 50,000, he had to sign it
22     and Mr. McGrail, the CEO, had to sign it as well, right?
23     A.    Yes.
24     Q.    And you would do one or two check runs a week, you think,
25     right?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 125 of 185
                                                                         125




 1     A.    Yes. Yes.
 2     Q.    And they had about 75 checks per run in them, right?
 3     A.    About.
 4     Q.    Did you segregate out checks that needed both Guilbault
 5     and McGrail's signatures, or were they just in the run of the
 6     checks?
 7     A.    No. They stayed together.
 8     Q.    Okay. So did you hand deliver the packet to
 9     Mr. Guilbault?
10     A.    Yes.
11     Q.    And then how did they get from him to Mr. Guilbault?
12     A.    Either he would give them back to me, or he would bring
13     them over himself.
14     Q.    "He," being --
15     A.    I'm sorry. Mr. Guilbault, yes.
16     Q.    And did he sign them while you waited, or did you drop
17     them off and come back?
18     A.    Drop off.
19     Q.    Okay. Could there be a delay?
20     A.    I'm sorry?
21     Q.    Could there be a delay? How long of a -- before you
22     dropped them off did you get word, "Okay. They're ready to
23     pick up"?
24     A.    They would just bring them back to me.
25     Q.    And then you would take them to McGrail for the ones that
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 126 of 185
                                                                         126




 1     needed --
 2     A.    No. I'm confused with your question. If -- they'll drop
 3     them to me once they're all done and signed by both.
 4     Q.    Okay. So the last time you see it before you get
 5     everything back is when you hand it to Guilbault?
 6     A.    Yes.
 7     Q.    Okay. Nobody asked you about the handwritten address on
 8     the Alley invoice?
 9     A.    No.
10     Q.    Again, you said about 75 checks per a run, one or two
11     times per a week, right?
12     A.    Yes.
13     Q.    How many were over $100,000 on average?
14                  MS. QUEENIN: Objection. Asked and answered.
15                  MR. PARKER: I don't think so.
16                  THE COURT: Go ahead.
17                  THE WITNESS: I don't recall. It could vary.
18     BY MR. PARKER:
19     Q.    5, 10, 20? Like --
20                  MS. QUEENIN: Objection.
21                  MR. PARKER: -- what did it range, from low to
22     high?
23                  THE COURT: She said she didn't recall. You can
24     ask a probing question, but not a streaming question like
25     that.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 127 of 185
                                                                         127




 1                   MR. PARKER: Okay.
 2     BY MR. PARKER:
 3     Q.    If you had to give a range of what it might vary, checks
 4     over $100,000 in a single check run, what do you think?
 5     A.    Between 5 and 10.
 6                   MR. PARKER: Okay. Ms. Marchione, is there a way
 7     to do the ELMO just for the witness?
 8                   THE DEPUTY CLERK: Absolutely.
 9                   MR. PARKER: Okay. I'm going to show what's been
10     marked Exhibit 180 just to the witness.
11     BY MR. PARKER:
12     Q.    And ask if you recognize that?
13     A.    Yes.
14     Q.    Would it be easier if you had a hard copy?
15     A.    I can see it.
16     Q.    Okay.
17                   THE COURT: Are you asking her --
18                   MS. QUEENIN: Your Honor --
19                   THE COURT: -- just about the first page or the
20     four --
21                   MR. PARKER: It's got multiple pages, so I think
22     it's easier to hand it up, Your Honor. May I approach?
23                   THE COURT: Yes.
24                   MS. QUEENIN: Your Honor, I just have a question on
25     the document. Can we use the whisper tech?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 128 of 185
                                                                         128




 1                 THE COURT: Sure.
 2                 MS. QUEENIN: Thanks.
 3                 (Beginning of sidebar.)
 4                 MS. QUEENIN: Can you hear me?
 5                 MR. PARKER: (Nods head.)
 6                 MS. QUEENIN: Your Honor, this document, which I'm
 7     seeing for the first time in this fashion, has different
 8     Bates labels from our office that are not sequential. And it
 9     seems to me that Mr. Parker has combined documents as a sort
10     of demonstrative of sorts. So I would object to it coming in
11     in this form. It was not produced this way.
12                 I have no way of verifying whether this is
13     accurate, and it's not proper to put this before the witness
14     if we can't verify that this was actually attached. He's
15     essentially compiling some sort of file based on different
16     documents that were actually not produced together
17     sequentially.
18                 MR. PARKER: She's -- this witness has already
19     testified about -- first of all, all three of these pages are
20     already in evidence. I've put them together. I'm -- she's
21     already testified this witness, that that's what she did, was
22     put the check together with the invoices.
23                 I'm going to walk her through these three pages.
24     If she says she recognizes them as the check and the invoices
25     that she prepared and passed up to Guilbault, I'm going to
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 129 of 185
                                                                         129




 1     offer it in this form. If she says she doesn't, I'm going to
 2     move on to the next thing.
 3                 THE COURT: So you started your questioning by
 4     referring to this, to a document, which seems to be, in
 5     effect, not in evidence. It's a compilation of four pages.
 6     So I'm going to allow some questioning, but you can't -- I'm
 7     really not interested in having you try to have a record
 8     of -- created solely by confusion. So be clear what you're
 9     showing her.
10                 And I think part of the problem, from my point of
11     view in trying to understand this, is that it seems like
12     there's a computer upload; and it's not clear what gets
13     turned into hard copies and what doesn't, and I'm not sure
14     what all we're looking at. So you can ask the questions, but
15     don't go beyond what you get from her. Don't make
16     assumptions.
17                 MR. PARKER: I'm going to do it exactly like I
18     explained to Your Honor. I'm going to ask her if she
19     recognizes the three pages. And if she put -- if this is how
20     she transmitted it to Guilbault for his signature.
21                 THE COURT: And I'd direct you to ask the question
22     page by page, and then you can ask it in more combinations
23     than that.
24                 MR. PARKER: That's what I was going to do.
25                 MS. QUEENIN: Your Honor, I still object. I think
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 130 of 185
                                                                         130




 1     it's -- I'm only using the word "deceptive" because I can't
 2     think of a better word, but I don't think it's fair that --
 3                  MR. PARKER: I can't hear you, Mackenzie.
 4                  MS. QUEENIN: I don't think it's fair to be able to
 5     compile a document and -- I object. I understand the Court's
 6     ruling, but I object.
 7                  THE COURT: Objection noted.
 8                  And just tread carefully here.
 9                  (End of sidebar.)
10     BY MR. PARKER:
11     Q.    Do you recognize the first page?
12     A.    Yes.
13     Q.    Do you recognize it as a check?
14     A.    Yes, it is.
15     Q.    Okay. If we turn to the second page, do you recognize
16     that, as well?
17     A.    Yes.
18     Q.    Okay. If you go to the third page, do you recognize that
19     as an invoice?
20     A.    Yes.
21     Q.    If you go to the fourth page, do you recognize that as an
22     invoice?
23     A.    Yes.
24     Q.    And do you recognize these as a NESN check and two Alley
25     invoices, right?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 131 of 185
                                                                         131




 1     A.    Yes.
 2     Q.    And I think you -- you testified that the first check
 3     that NESN wrote to Alley was for $110,000, and it was dated
 4     4/1/21?
 5     A.    I believe so, yeah.
 6     Q.    Okay. And did that check correspond to the two invoices
 7     that are attached?
 8     A.    Yes.
 9     Q.    And is this how you would have put this package together
10     before you transmitted it to Mr. --
11                  MS. QUEENIN: Objection.
12                  MR. PARKER: -- Guilbault?
13                  (Beginning of sidebar.)
14                  THE COURT: As we know from the records so far --
15                  THE DEPUTY CLERK: Your Honor?
16                  THE COURT: I'm sorry.
17                  THE DEPUTY CLERK: I didn't realize you were going
18     to whisper tech. I apologize.
19                  THE COURT: As we know from the records so far,
20     there are two versions of Invoice 45 -- 4118 floating around,
21     correct?
22                  MR. PARKER: Yes.
23                  THE COURT: And you're trying to identify whether
24     the invoice with the signature, with the handwritten address,
25     was part of the packet that she gave to the CFO; is that
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 132 of 185
                                                                         132




 1     correct?
 2                 MR. PARKER: Yes. And I think he's already
 3     testified that it was.
 4                 THE COURT: I think she's testified that she added
 5     the address and I think she's testified that an invoice went
 6     there. I think, to the extent that she has testified that
 7     one with the address written in it is the one that went to
 8     Mr. Guilbault, that's hard -- from my recollection -- but if
 9     you want to ask questions about the -- did this packet go
10     like this to Mr. Guilbault, I direct you not to refer to this
11     as "the invoice," since we have two invoices that are the
12     same, but refer to it as --
13                 Unless you're trying to create a record as confused
14     as possible -- rather, if that's what's going on here, that's
15     pretty upsetting.
16                 MR. PARKER: So I really do not understand that
17     last comment, Your Honor. What I'm trying to do, the
18     government put everything in separately. Okay? I'm trying
19     to establish what flowed, and I'm --
20                 THE COURT: Then ask her --
21                 MR. PARKER: It's not a slight of hand.
22                 THE COURT: Counsel, then just ask her about
23     when -- instead of referring to it as "the invoice," please
24     refer to it as "the invoice with the handwritten notation."
25                 MS. QUEENIN: Your Honor --
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 133 of 185
                                                                         133




 1                  (End of sidebar.)
 2     BY MR. PARKER:
 3     Q.    So, again, focusing on the third page of this document,
 4     of this potential exhibit, with the handwritten address --
 5     okay? Do you see that?
 6     A.    Yes.
 7     Q.    Do you have a memory whether that invoice was what was
 8     attached to the check that you sent to Mr. Guilbault for his
 9     signature?
10     A.    I don't recall.
11     Q.    Okay. I'm going to show you -- well, let me do it this
12     way. So there was a $110,000 check on April 1, 2021, right?
13     A.    Yes.
14     Q.    And there were two invoices attached, right?
15     A.    Yes.
16     Q.    And that's how you passed it up to Mr. Guilbault, right?
17     A.    Yes.
18     Q.    And you're not sure, as you sit here today, whether one
19     of the invoices that he saw had the handwritten address on it
20     or whether it didn't; is that fair to say?
21     A.    I'm not sure.
22     Q.    Okay. So on the second check -- and, again, that check
23     was dated April 1, 2021?
24     A.    Correct.
25     Q.    On the second check, dated April 27, 2021, for $135,000,
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 134 of 185
                                                                         134




 1     there were also two invoices attached, right?
 2     A.    I don't have it in front of me, but --
 3     Q.    Okay.
 4                   MS. QUEENIN: Your Honor, may we use the whisper
 5     tech?
 6                   MR. PARKER: May I approach, Your Honor?
 7                   THE COURT: You --
 8                   MR. PARKER: I'm not going to try to offer this.
 9                   THE COURT: Do you have questions -- do you have
10     something you need to speak with me if he's not offering it?
11                   Is there a document number for what you marked?
12                   MR. PARKER: 181, Your Honor.
13                   MS. QUEENIN: If Your Honor has the document, then
14     no.
15                   THE COURT: I have it.
16                   MR. PARKER: Your Honor, may I proceed? Are you
17     ready?
18                   THE COURT: Can I actually speak to counsel a
19     minute?
20                   (Beginning of sidebar.)
21                   THE COURT: On both of these, the packet is clearly
22     not what was given to Mr. Guilbault because it includes the
23     canceled check.
24                   MR. PARKER: Well, I noticed that as I was doing
25     this, Your Honor. I tried to use admitted exhibits when I
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 135 of 185
                                                                         135




 1     put this together, but I'm not offering this. All I want to
 2     do is take her through -- there were two checks in April.
 3     One is for 110. One is for 135. They totaled this much.
 4                  And I have some questions for her and I'm off of
 5     trying to offer these.
 6                  THE COURT: Okay. Proceed.
 7                  (End of sidebar.)
 8     BY MR. PARKER:
 9     Q.    Okay. So, again, to backtrack, there was a check dated
10     April 1, 2021, for $110,000, right?
11     A.    Yes.
12     Q.    And there was a second check for $135,000 on April 27,
13     2021, right?
14     A.    Yes.
15     Q.    And whichever versions of whatever invoices were
16     attached, you did prepare those with supporting invoices for
17     Mr. Guilbault's signature, right?
18     A.    Yes.
19     Q.    And then those had to go from him also to Mr. McGrail
20     because they were over $50,000, right?
21     A.    Correct.
22     Q.    So there were two checks to Alley in April for a total of
23     $245,000, right?
24     A.    Yep.
25     Q.    And do you have in your mind an idea of how often it
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 136 of 185
                                                                         136




 1     happened at NESN that a single vendor was paid $245,000 in a
 2     single month for services rendered?
 3     A.    It's not uncommon.
 4     Q.    It's not uncommon?
 5     A.    Uh-uh.
 6     Q.    Okay. So several of the five to ten checks that were
 7     over $100,000 in each check run could have been the size of
 8     these checks?
 9                   MS. QUEENIN: Objection, Your Honor. I don't
10     even -- I don't understand the question.
11                   MR. PARKER: I think the witness did, Your Honor.
12                   THE COURT: I'll allow the question.
13                   MS. QUEENIN: I'd ask that it be repeated. I
14     honestly didn't hear it.
15                   THE COURT: The question said, "So several of the
16     five to ten checks that were over $100,000 in each check run
17     could have been the size of these checks?"
18                   MS. QUEENIN: I don't know what that means.
19                   THE COURT: Since the "these checks" -- why don't
20     you try it again? Be specific.
21                   MR. PARKER: Okay.
22     BY MR. PARKER:
23     Q.    You said it was not uncommon for a vendor to be paid
24     $245,000 in a single month, right?
25     A.    Yeah.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 137 of 185
                                                                         137




 1     Q.    Okay. So that would be several check runs over the
 2     course of a month, right?
 3     A.    No. It could be one.
 4     Q.    It could be one?
 5     A.    Yeah.
 6     Q.    Okay. And I asked you how often did it happen that NESN
 7     paid a vendor $245,000 a month, and you said it was not
 8     unusual, right?
 9     A.    Yeah.
10     Q.    Okay. So my next question that we got hung up on was
11     five to ten checks in each check run could be for over a
12     hundred thousand dollars, right?
13     A.    Correct.
14     Q.    And so that would mean that -- out of those five to ten
15     checks in each check run, how many would be totaling, like,
16     $245,000?
17                   MS. QUEENIN: Your Honor, I -- I still don't
18     understand what counsel is asking.
19                   THE COURT: Okay. I'm going to allow it.
20                   MS. QUEENIN: Okay.
21                   THE WITNESS: Can you repeat that part, please?
22     BY MR. PARKER:
23     Q.    Let's move on to June of 2021. There were also two
24     checks to Alley from NESN.
25                   THE COURT: What are the document numbers?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 138 of 185
                                                                         138




 1                   MS. QUEENIN: 182 and 183.
 2                   MR. PARKER: 182 and 183. May I approach the
 3     witness, Your Honor?
 4                   THE COURT: Yes, you may.
 5     BY MR. PARKER:
 6     Q.    Those are checks from NESN to Alley as well, right?
 7     Alley Connecticut?
 8     A.    Yes.
 9     Q.    And 182, one check is in the amount of $85,000, right?
10     A.    Uh-huh, yes.
11     Q.    And one check is in the amount of $100,000, right?
12     A.    Yes.
13     Q.    So in April, NESN paid Alley Connecticut two checks for
14     $245,000, right?
15     A.    Correct.
16     Q.    And in June, another two checks for another 180 --
17     $185,000, right?
18     A.    Correct.
19     Q.    And that total for the two separate months is $430,000,
20     right?
21     A.    Yes.
22     Q.    And how common is it that NESN would pay a vendor
23     $430,000 over a couple-month period?
24     A.    It's not uncommon.
25     Q.    Okay.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 139 of 185
                                                                         139




 1                   MR. PARKER: I have no further questions,
 2     Your Honor.
 3                   THE COURT: Okay. Anything on redirect?
 4                   MS. QUEENIN: Just very briefly.
 5             REDIRECT EXAMINATION BY COUNSEL FOR THE GOVERNMENT
 6     BY MS. QUEENIN:
 7     Q.    Okay. I have a couple of questions, and we'll get you
 8     out of here.
 9                   Mr. Parker asked you several questions about two
10     invoices, one without an address, one with an address. Do
11     you recall that series of questions?
12     A.    Yes.
13     Q.    How did you know where to send payment for the invoices
14     for Alley Connecticut?
15     A.    They were -- they were given to me in the email chain
16     from Ariel to myself.
17     Q.    And at the time that these checks go to the CEO and CFO
18     of NESN, are there still approvals pending in Fidesic, in the
19     Fidesic system?
20     A.    I don't understand.
21     Q.    By the time you've printed the checks --
22     A.    Okay.
23     Q.    -- and you take them to the CEO and the CFO for
24     signature, are there still approvals on the payments that are
25     pending? Are there still approvals that haven't been
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 140 of 185
                                                                         140




 1     received on the invoices?
 2     A.    Oh, no. No.
 3     Q.    Okay. And what manager for the digital group at the time
 4     in 2021 first approves those payments? The first approval?
 5     A.    Ariel Legassa.
 6                 MS. QUEENIN: No further questions.
 7                 MR. PARKER: I have no questions.
 8                 THE COURT: Thank you. You may step down.
 9                 MR. SALTZMAN: Your Honor, the government calls
10     Paul King.
11                 THE DEPUTY CLERK: Sir, before you sit, could you
12     please raise your right hand.
13                 (Witness duly sworn.)
14                 THE DEPUTY CLERK: Please state your name for the
15     record and spell your last name.
16                 THE WITNESS: Paul King, K-i-n-g.
17                 THE DEPUTY CLERK: Thank you. You may have a seat.
18                 THE COURT: You may proceed.
19                                     PAUL KING
20               having been duly sworn, testified as follows:
21              DIRECT EXAMINATION BY COUNSEL FOR THE GOVERNMENT
22     BY MR. SALTZMAN:
23     Q.    Good afternoon, Mr. King.
24     A.    Afternoon.
25     Q.    Where do you work, sir?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 141 of 185
                                                                         141




 1     A.    New England Sports Network.
 2     Q.    And what is your educational background?
 3     A.    I have a bachelor's in business management and a minor in
 4     finance from Providence College.
 5     Q.    And what year did you graduate?
 6     A.    2016.
 7     Q.    And how long have you worked at NESN for?
 8     A.    Approximately 5½ years.
 9     Q.    And during those 5½ years at NESN, what positions have
10     you held?
11     A.    Staff accountant, senior accountant, accounting manager
12     and senior finance manager.
13     Q.    If I direct your attention to 2021, what was your
14     position, or positions at that time?
15     A.    Staff accountant or senior accountant.
16     Q.    At the time in 2021, how large was the accounting group?
17     A.    Approximately eight people.
18     Q.    Who did you report to?
19     A.    Mary Breiter.
20     Q.    And what were your responsibilities?
21     A.    Our responsibilities were tracking expenses and budgeting
22     expenses as well.
23     Q.    Were you responsible for any departments or functions at
24     NESN?
25     A.    Yes.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 142 of 185
                                                                         142




 1     Q.    Which groups or functions were those?
 2     A.    The digital department, the human resource department,
 3     the marketing department, and the creative service
 4     department.
 5     Q.    So focusing on the digital department, who is your point
 6     of contact in that group?
 7     A.    Ariel.
 8     Q.    Ariel Legassa?
 9     A.    Yes.
10     Q.    Now, Mr. King, did you play a role in setting NESN's
11     annual budget?
12     A.    Yes.
13     Q.    And during the year, did you play a role in tracking
14     NESN's budget?
15     A.    Yes.
16     Q.    So what does it mean to track the budget?
17     A.    I would meet with the department heads to review expenses
18     that hit during the year, to see if we were unfavorable or
19     favorable for budget.
20     Q.    What do you mean by "favorable or unfavorable"?
21     A.    If we spent more money than we budgeted or less money
22     than we budgeted.
23     Q.    Okay. So focusing on the digital group, did you play a
24     role in setting its budget in 2021 and 2022?
25     A.    Yes.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 143 of 185
                                                                         143




 1     Q.    And in 2021, did you play a role in tracking the digital
 2     group's budget?
 3     A.    Yes.
 4     Q.    How did you go about tracking the digital group's budget?
 5     A.    I would try to meet with the department head on a monthly
 6     basis to review expenses.
 7     Q.    And the department head was Ariel Legassa, right?
 8     A.    Yes.
 9     Q.    Okay. All right. So what was it like working with Ariel
10     Legassa in 2021 to track the -- track the budget?
11                  MR. PARKER: Objection.
12                  THE COURT: Sustained. Focus it a little.
13                  MR. SALTZMAN: Excuse me, Your Honor?
14                  THE COURT: If you could focus that a little.
15                  MR. SALTZMAN: Yes.
16     BY MR. SALTZMAN:
17     Q.    So what are the ways in which you tried to track -- in
18     connection with your work with Mr. Legassa, how did you try
19     to track the budget?
20     A.    I would put meetings on his calendar to -- to meet in
21     person or try to meet in person.
22     Q.    And what happened with those meetings?
23     A.    He would give excuses as to why he wouldn't be able to
24     meet in person.
25     Q.    How often did you want to meet with him?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 144 of 185
                                                                         144




 1     A.    Monthly.
 2     Q.    And how often did you meet with him?
 3     A.    Approximately, in person, six times during the year.
 4     Q.    And in connection with your tracking efforts, would you
 5     ask him for documentation?
 6     A.    Yes.
 7     Q.    Documentation of what?
 8     A.    I would ask for statement of works, master service
 9     agreements, questions on, you know, particular invoices.
10     Q.    Invoices from vendors?
11     A.    Correct.
12     Q.    Why would you ask him for these things?
13     A.    I would ask -- ask for these things because tracking was
14     part of my job, and if I had particular questions on
15     invoices, I would hope to get more clarity from -- from
16     Ariel.
17     Q.    And how did he respond when you asked for additional
18     documentation?
19     A.    He would give excuses.
20     Q.    What do you mean by that?
21     A.    He would give me the runaround as to why he wouldn't be
22     able to provide --
23                  MR. PARKER: Objection, Your Honor.
24                  THE WITNESS: -- certain documentation.
25                  THE COURT: I'm going to strike that answer and
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 145 of 185
                                                                         145




 1     just have you answer it more specifically and not labeling of
 2     what you're doing.
 3                  So the question was what -- the question was -- you
 4     answered he would give excuses. "What do you mean by that?"
 5     If you can give a specific answer to that, you can do it.
 6     Otherwise, we'll move on.
 7                  THE WITNESS: He said it would delay the work that
 8     they -- the vendor was doing, so he wouldn't be able to
 9     provide said documentation.
10     BY MR. SALTZMAN:
11     Q.    That getting -- getting that supporting documentation
12     would delay the vendor work?
13     A.    Correct.
14     Q.    And that was the reason he couldn't provide it to you?
15     A.    Correct.
16     Q.    Okay. So you also had to work with other group heads or
17     function heads to track the budget, right?
18     A.    Yes.
19     Q.    And when you asked to meet with those group heads or
20     function heads, would they -- would they meet with you on a
21     regular basis?
22     A.    Yes. They know the importance of meeting with the
23     finance team.
24                  MR. PARKER: Objection, Your Honor.
25                  THE COURT: I'm striking the rest of that answer
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 146 of 185
                                                                         146




 1     after "Would they meet with you on a regular basis?" The
 2     answer was yes, and the rest of that goes -- is stricken.
 3                  MR. SALTZMAN: Understood.
 4     BY MR. SALTZMAN:
 5     Q.    And would those function heads provide you with the
 6     requested supporting documentation?
 7     A.    Yes.
 8     Q.    Let's focus on the digital group and vendor work. So in
 9     2021, did the digital group work with vendors?
10     A.    Yes.
11     Q.    Who selected the vendors that the digital group worked
12     with?
13     A.    Ariel.
14     Q.    Who managed the relationship with vendors for the digital
15     group?
16     A.    Ariel.
17     Q.    Did you play any role in the vendor-selection process?
18     A.    No.
19     Q.    Did you play any role in making payments to vendors?
20     A.    No.
21     Q.    So in 2021, who were the digital vendors that had the
22     largest budget with NESN?
23     A.    Alley, ClearBridge, and Brightcove.
24     Q.    In connection with your tracking work, would you ever
25     speak with vendors for the digital group?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 147 of 185
                                                                         147




 1     A.    Yes.
 2     Q.    Why would it be necessary for you to speak with vendors
 3     from the digital group?
 4     A.    If I had particular questions that Ariel wasn't able to
 5     provide clarity on, I would ask for a contact at -- at the
 6     vendor to get more clarity.
 7     Q.    So you mentioned ClearBridge, Brightcove, and Alley. In
 8     2021, was ClearBridge an existing vendor for Alley -- for
 9     NESN? I'm sorry.
10     A.    Yes.
11     Q.    And did you have a contact at ClearBridge?
12     A.    Yes.
13     Q.    And were you able to speak -- did you speak with that
14     contact?
15     A.    Yes.
16     Q.    And Brightcove, in 2021, was Brightcove an existing
17     vendor for NESN?
18     A.    Yes.
19     Q.    And did you have a contact at Brightcove?
20     A.    Yes.
21     Q.    Did you speak with that contact?
22     A.    Yes.
23     Q.    And turning to Alley Interactive, did you ever speak with
24     anyone at Alley Interactive?
25     A.    No.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 148 of 185
                                                                         148




 1     Q.    Why not?
 2     A.    I had asked Ariel for contacts and he did not provide me
 3     with one.
 4     Q.    All right. So approximately when would you say that you
 5     first learned of Alley Interactive, the vendor?
 6     A.    Approximately February of 2021.
 7     Q.    Who managed NESN's relationship with Alley Interactive?
 8     A.    Ariel.
 9     Q.    Do you know if NESN and Alley New York -- Alley
10     Interactive entered into a master services agreement?
11     A.    We did.
12     Q.    And did you review it?
13     A.    Yes.
14     Q.    Do you know if NESN and Alley Interactive entered into a
15     statement of work?
16     A.    Yes.
17     Q.    How many statements of work did they enter into?
18     A.    Two.
19     Q.    And did you review them as well?
20     A.    Yes.
21     Q.    Why did you review those documents?
22     A.    To track the expenses, first budget, tracking was part of
23     my job.
24     Q.    And focusing on the second statement of work, do you
25     remember how long that agreement lasted for?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 149 of 185
                                                                         149




 1     A.    A year.
 2     Q.    And do you remember how much Alley charged NESN for the
 3     work that it was doing?
 4     A.    Yes. 57K a month.
 5     Q.    All right. Mr. King, in 2021, how many vendors named
 6     Alley Interactive did you believe that NESN was working with?
 7     A.    One.
 8     Q.    In 2021, how many vendors named Alley Interactive did you
 9     believe that NESN was making payments to?
10     A.    One.
11     Q.    All right. So you just mentioned that you only thought
12     NESN was making payments to one entity named Alley
13     Interactive. Did there come a time when that changed?
14     A.    Yes.
15     Q.    When was that?
16     A.    Approximately January 2022.
17     Q.    And going forward after you learned that in January 2022,
18     did NESN continue making payments to the Alley Interactive
19     based in Connecticut?
20     A.    No.
21     Q.    All right. So I want to show you a few emails, Mr. King.
22                  MR. SALTZMAN: For the witness only, can we please
23     have Exhibit 122.
24     BY MR. SALTZMAN:
25     Q.    Do you recognize this document?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 150 of 185
                                                                         150




 1     A.    Yes.
 2     Q.    And what is it?
 3     A.    It's an email chain between me, Ariel, and Mary.
 4                  MR. SALTZMAN: Your Honor, I would offer
 5     Exhibit 122.
 6                  MR. PARKER: No objection, Your Honor.
 7                  THE COURT: 122 is admitted.
 8                  (Exhibit 122 admitted into evidence.)
 9                  MR. SALTZMAN: Thank you.
10     BY MR. SALTZMAN:
11     Q.    I want to direct your attention, Mr. King, to the portion
12     the email from Ariel Legassa to you and Mary Breiter on
13     February 11th at 12:22. It's the middle of the chain. And
14     I'll read the email from Ariel Legassa and then I'll ask you
15     to read your response. The subject is Numbers, "Re: Numbers,
16     I will, Paul. Just FYI. We added a new vendor, Alley
17     Interactive, with extensive experience with Brightcove,
18     Amazon Cognito, and BlueConic. This vendor comes highly
19     recommended and vetted by Automatic (Wordpress VIP corporate
20     arm), which we pay to provide our developers' development
21     environments."
22                  It then lists a balance set forth for 10Up and
23     Alley Interactive.
24                  What -- just briefly, what is 10Up?
25     A.    10Up was a vendor that NESN worked with in regards to
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 151 of 185
                                                                         151




 1     development of our direct-to-consumer product.
 2     Q.    Another digital vendor?
 3     A.    Yep.
 4     Q.    Okay. Let's take a look at your response. Can you
 5     please -- after it's blown up, I'll ask you to please read
 6     your email, Mr. King.
 7     A.    "I just want to clarify, is this 900K from Alley
 8     Interactive in addition to the budgeted 1.5 million DTC, 750K
 9     UHD, and 950K NESN Bets/Watch, or is this new vendor
10     replacing some of the work that either 10Up or ClearBridge
11     was originally supposed to do?"
12     Q.    So just to step back, this email chain is on February 11,
13     2021, right?
14     A.    Uh-huh.
15     Q.    What is the status of NESN's budget at this time, its
16     budget for 2021?
17     A.    The budget had just been approved by the board.
18     Q.    Okay. So the budget is set at this time?
19     A.    Uh-huh. Yes.
20     Q.    All right. In your email, what clarity are you trying to
21     get from Mr. Legassa?
22                  MR. PARKER: Objection.
23                  THE COURT: Sustained.
24                  MR. SALTZMAN: All right. I -- can we please have
25     Mr. -- the response from Mr. Legassa.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 152 of 185
                                                                         152




 1     BY MR. SALTZMAN:
 2     Q.    So he writes, "Paul, just switching vendors. Same budget
 3     amount, no increase. Alley is replacing 10Up in some
 4     projects."
 5                   So going forward, did Alley replace 10Up?
 6     A.    Yes, for most projects.
 7     Q.    And what is a -- what is a vendor switch?
 8     A.    A vendor switch is changing the vendor who was originally
 9     scoped out to do the work with another vendor.
10     Q.    And did Mr. Legassa have authority to make such a vendor
11     switch in the digital group?
12     A.    Yes.
13     Q.    Okay.
14                   MR. SALTZMAN: Can we have Exhibit 123, please, for
15     the witness only?
16     BY MR. SALTZMAN:
17     Q.    Do you recognize this document?
18     A.    Yes.
19     Q.    What is it?
20     A.    It's an email chain between Ariel and myself.
21                   MR. SALTZMAN: Your Honor, I'd offer Exhibit 123 in
22     evidence.
23                   MR. PARKER: No objection.
24                   THE COURT: 123 is admitted.
25                   (Exhibit 123 admitted into evidence.)
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 153 of 185
                                                                         153




 1     BY MR. SALTZMAN:
 2     Q.    Mr. King, what is the subject of this email chain?
 3     A.    "ClearBridge and Alley invoices."
 4     Q.    And I want to direct your attention to the beginning of
 5     the email chain. And -- and before I ask you to read a part
 6     of this, at this time in June of 2021, had Alley Interactive
 7     started to perform work for NESN?
 8     A.    Yes.
 9     Q.    And to bill NESN for its work?
10     A.    Yes.
11     Q.    Okay. Can you please read the paragraph that begins with
12     "also"?
13     A.    "Also, the attached Alley invoice for 100K is related to
14     the 4K UHD project, correct? We already paid 255K to Alley
15     for the UHD streaming project. You told me it would be 250K
16     a few months back. This extra 100K invoice would take us to
17     350K. Is that accurate?"
18     Q.    So when you write "Alley," what were you referring to?
19     A.    The vendor that we entered a master service agreement
20     with.
21     Q.    Okay. And at the time that you wrote this email, how
22     much had NESN paid Alley?
23     A.    255K.
24     Q.    And why are you asking about this extra invoice that
25     would bring the payment up to 355K?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 154 of 185
                                                                         154




 1     A.     Because tracking was part of my job and this was a
 2     budgeted project.
 3                    MR. SALTZMAN: Can we please have Exhibit 15
 4     alongside 123? Exhibit 15 is in evidence.
 5     BY MR. SALTZMAN:
 6     Q.     Do you recognize this invoice on the left of your screen?
 7     A.     Yes. It's the invoice I was mentioning in the chain.
 8     Q.     Okay. And what's the address that's listed in the
 9     invoice to the left?
10     A.     680 East Main Street, Stamford, Connecticut.
11     Q.     And at the time that you looked at this invoice, who did
12     you believe was going to receive payment on this invoice?
13     A.     Alley Interactive in New York.
14     Q.     The one that you had contracted with in the master
15     services agreement?
16     A.     Correct.
17     Q.     Okay.
18                    MR. SALTZMAN: I want to direct -- we can take down
19     the invoice, please, Ms. Hallagan, and go back to the email.
20     BY MR. SALTZMAN:
21     Q.     And I want to direct your attention to Mr. Legassa's
22     response on June 8, 2021.
23                    MR. SALTZMAN: The one above that, please. Thank
24     you.
25
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 155 of 185
                                                                         155




 1     BY MR. SALTZMAN:
 2     Q.    He writes "Alley invoice is for the Nielsen, ID3 Tags,
 3     4K." And I want to ask you to read your response to that.
 4     Can you please read your response, Mr. King?
 5     A.    "Okay. Thanks Ariel. So does this fall under the
 6     Nielsen & Adobe software development kit project? We
 7     budgeted 100K for that project, so will this be the only
 8     invoice for that project?"
 9     Q.    What is the invoice that you're referring to?
10     A.    Exhibit 15.
11     Q.    Okay. And are you asking these questions in connection
12     with your tracking responsibilities?
13     A.    Yes.
14                  MR. SALTZMAN: And if we can then scroll up. I'll
15     read Mr. Legassa's response.
16     BY MR. SALTZMAN:
17     Q.    He writes, "Yes, only invoice for that project."
18                  So what -- what did you do next?
19     A.    This, essentially, closed the loop on this project. The
20     invoice amount tied to the budgeted amount for this
21     particular project.
22     Q.    Why did you accept his answer?
23                  MR. PARKER: Objection.
24                  THE COURT: I'll allow it.
25                  THE WITNESS: I accepted -- accepted his answer
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 156 of 185
                                                                         156




 1     because he was a vice president and I trusted that that was
 2     the case.
 3                  MR. SALTZMAN: Can we have Exhibit 126, please?
 4     Just for the witness.
 5     BY MR. SALTZMAN:
 6     Q.    Do you recognize this document?
 7     A.    Yes.
 8     Q.    What is it?
 9     A.    It's an email chain between Ariel and myself.
10                  MR. SALTZMAN: I'd offer Exhibit 126, Your Honor.
11                  MR. PARKER: No objection.
12                  THE COURT: 126 is admitted.
13                  (Exhibit 126 admitted into evidence.)
14     BY MR. SALTZMAN:
15     Q.    Okay. I want to direct your attention to your email on
16     September 8, 2021. It's entitled "August close check-in."
17     Do you see that?
18     A.    Yes.
19     Q.    What are you emailing about here? What is an August
20     close check-in?
21     A.    I'm asking Ariel questions in regards to expenses that
22     have hit, year to date.
23     Q.    Does this relate to your tracking responsibilities?
24     A.    Yes.
25     Q.    So as you can see, there's black text, and then there's
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 157 of 185
                                                                         157




 1     blue text beneath it. What does each color represent?
 2     A.    The black text are my questions for Ariel. The blue text
 3     are Ariel's responses.
 4     Q.    Why would you communicate this way with him?
 5     A.    Whenever I was unable to meet in person, I would ask him
 6     questions via email.
 7     Q.    All right. I want to direct your attention to just two
 8     of the questions that you list in this check-in. They both
 9     begin with "for Alley." So the first one, I'll ask you to
10     read it, and then I'll read the response.
11     A.    "For Alley, you mentioned last time we met that we might
12     be getting charged for some extra work they did for NESN Bets
13     and Watch, depending on DraftKings. So far, we've been
14     charged an extra 100K. Will we be charged an additional 25
15     to 50K?"
16     Q.    And then the response from Mr. Legassa is, "We are
17     finishing developing NESN Watch (Web) and NESN Bets (we
18     transfer the work to Alley from ClearBridge web.) We should
19     expect a couple more invoices when job is done. We did some
20     extra work because of the SportsGrid feeds (video and
21     articles) and we may expect more work depending on the
22     operators requests (DraftKings, FanDuel, et cetera)."
23                 So what does it mean that work was being
24     transferred from ClearBridge to Alley?
25     A.    Work originally scoped out for ClearBridge would now be
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 158 of 185
                                                                         158




 1     done by Alley.
 2     Q.    And to be clear, what is the Alley entity that you are
 3     referring to in your email?
 4     A.    The entity that we contracted with.
 5     Q.    And what is the Alley entity that you understood
 6     Mr. Legassa was referred to?
 7     A.    Alley New York.
 8     Q.    And if work was being transferred from ClearBridge to
 9     Alley, how would this transfer affect the amount invoiced by
10     Alley to NESN?
11     A.    Increased.
12     Q.    And then there's a mention of extra work. Do you see
13     that?
14     A.    Yes.
15     Q.    What do you -- what did you understand that to mean?
16     A.    I understood this to mean that we'd be getting charged
17     more -- more money than we were originally scoped out.
18     Q.    And who -- based on this representation that you
19     received, who did you understand would be doing this extra
20     work?
21     A.    Alley, the vendor that we contracted with.
22     Q.    And did you do anything independently to verify these
23     representations that were made to you?
24     A.    Yes. I would -- I would ask -- I would ask for, you
25     know, the additional backup for the extra work.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 159 of 185
                                                                         159




 1     Q.    From Ariel?
 2     A.    Yes.
 3     Q.    Okay. Now, let's take a look at the second bullet?
 4                  MR. SALTZMAN: Thank you, Ms. Hallagan.
 5     BY MR. SALTZMAN:
 6     Q.    And I'll ask you to read your invoice -- your invoice --
 7     your bullet, please.
 8     A.    "For Alley, we've only received one July retainer
 9     invoice. Should we expect August and September retainer
10     invoices, even with being invoiced for this additional NESN
11     Bets and Watch work?"
12     Q.    And he responds, "Retainer is basic work. All the rest
13     will be invoiced separately. I'm trying to get us more
14     resources and get it into an upgraded retainer."
15                  So there's mention of an upgraded retainer. What
16     did you understand that to mean?
17     A.    My understanding was Ariel was negotiating an upgraded
18     retainer and this additional work would fall under that
19     upgraded retainer.
20     Q.    And did you have additional discussions with him about an
21     upgraded retainer between Alley and NESN?
22     A.    Yes.
23     Q.    Okay. And did it ever happen?
24     A.    No.
25     Q.    And you mentioned, before we were talking about extra
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 160 of 185
                                                                         160




 1     work, what did you understand the relationship between an
 2     upgraded retainer and extra work?
 3     A.    It was my understanding that the extra work would fall
 4     under this -- this new, upgraded retainer.
 5     Q.    And when -- you mentioned that you would try to verify
 6     these things by asking Mr. Legassa for additional
 7     documentation; is that right?
 8     A.    Correct.
 9     Q.    And did he provide you with that additional documentation
10     that you requested?
11     A.    No. I asked many times and he did not.
12                 MR. PARKER: Objection, Your Honor.
13                 THE COURT: The question was did he provide you
14     with the additional documentation that you requested?
15                 I think that's a yes-or-no question.
16                 THE WITNESS: No, he did not.
17                 THE COURT: The rest of the answer is stricken.
18     BY MR. SALTZMAN:
19     Q.    How many times did you -- to the best of your memory, how
20     many times did you ask him for that information?
21                 MR. PARKER: Objection.
22                 THE COURT: Sustained.
23                 MR. SALTZMAN: May I be heard, Your Honor?
24                 (Beginning of sidebar.)
25                 THE COURT: Since we're on the whisper tech,
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 161 of 185
                                                                         161




 1     Mr. Parker, let me start with the nature of your objection.
 2     It would be my assumption --
 3                 MR. PARKER: I'm objecting because you sustained my
 4     first objection, and I'm not really sure why it's relevant --
 5     this witness has already testified that he was having
 6     difficulty getting information from Mr. Legassa. It's kind
 7     of asked and answered already, and we're kind of flogging a
 8     dead horse here.
 9                 THE COURT: So I sustained your question because he
10     went beyond the question, and now I'm sustaining the
11     objection because it assumed facts not in evidence. Once I
12     had stricken, you asked how many times -- basically, you
13     assumed that he had asked more than once, but that
14     information was stricken.
15                 So you need to back up and ask that question before
16     I can let you ask the second one as to that.
17                 MR. SALTZMAN: Should I address what I anticipate
18     will be an objection that will then follow?
19                 THE COURT: Sure.
20                 MR. SALTZMAN: Thank you.
21                 I think that if Mr. Parker is allowed to engage in
22     repeated questioning of Ms. Fisher as to the approximate
23     number of invoices that may or may not have come to her
24     attention in a certain amount, which was pure speculation,
25     then I should be able to ask Mr. King to opine as to the
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 162 of 185
                                                                         162




 1     approximate number of times he asked the defendant to provide
 2     documentation for the invoices that are at the center of our
 3     case.
 4                  THE COURT: And I haven't stopped you from that.
 5     I'm just sustaining objections based on the form of the
 6     question.
 7                  MR. SALTZMAN: I will save my fire, then.
 8                  (End of sidebar.)
 9                  THE COURT: For any of you who've been on jury duty
10     before, you have to admit that's a whole lot faster than us
11     all moving over to sidebar.
12                  So please proceed.
13                  MR. SALTZMAN: Thank you, Your Honor.
14     BY MR. SALTZMAN:
15     Q.    So, Mr. King, I was asking you before about the efforts
16     that you made to reach out to Mr. Legassa about supporting
17     documentation.
18     A.    Yes.
19     Q.    So did you reach out to him to try to get that additional
20     supporting documentation?
21     A.    Yes.
22     Q.    And how many times would you estimate that you reached
23     out to him in 2021 to try to get that supporting
24     documentation?
25     A.    Approximately six times in person, with a handful of
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 163 of 185
                                                                         163




 1     emails, as well.
 2     Q.    What about emails and phone calls?
 3     A.    Yes.
 4     Q.    Okay.
 5     A.    Every time we met, I would ask, I would have questions
 6     for him.
 7     Q.    And did you receive anything in response to those
 8     questions that you asked him?
 9     A.    No. He would give excuses as to why he would be unable
10     to provide --
11                   MR. PARKER: Objection.
12                   THE COURT: Striking the rest of the answer. The
13     question was did you receive anything? The answer was no.
14     Everything that came after that is stricken.
15                   MR. SALTZMAN: Moving on.
16                   Can we have Exhibit 127, please.
17     BY MR. SALTZMAN:
18     Q.    Do you recognize this document?
19     A.    Yes.
20     Q.    And what is it?
21     A.    It's an email chain between Ariel, myself, and Mary.
22     Q.    And what is the subject?
23                   MR. SALTZMAN: I'd offer 127, Your Honor.
24                   THE WITNESS: The subject is --
25                   THE COURT: Hold on. Hold on.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 164 of 185
                                                                         164




 1                   THE WITNESS: Sorry.
 2                   MR. PARKER: No objection.
 3                   THE COURT: 127 is admitted.
 4                   (Exhibit 127 admitted into evidence.)
 5                   MR. SALTZMAN: Thank you.
 6     BY MR. SALTZMAN:
 7     Q.    What is the subject of this email?
 8     A.    "Alley Interactive Retainer."
 9     Q.    And to be clear, what is the Alley entity that you
10     understood was being discussed in this email chain?
11     A.    The entity that we contracted with --
12     Q.    Okay.
13     A.    -- Alley New York.
14     Q.    And if I can ask you to please read your email on
15     October the 7th? I apologize for asking you to read a
16     lengthy email.
17     A.    "Hi Ariel, I wanted to follow up in regards to the Alley
18     Interactive retainer. We currently have the attached
19     contract with them, and I was hoping you could provide us
20     with some clarity on this. It was my understanding that we
21     would be receiving a 57K a month invoice from them for their
22     work starting in July. However, this has not been the case,
23     as we've only received a July and September retainer invoice
24     for Alley.
25                   "I know you mentioned that Alley performed some
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 165 of 185
                                                                         165




 1     extra work on NESN Watch and Bets because of the SportsGrid
 2     feeds (video and articles) and that we may expect more work
 3     depending on the operators' requests (DraftKings, FanDuel,
 4     et cetera). Is this extra work not covered under the
 5     retainer contract? We will need some clarity on how much
 6     they will be invoicing us for the rest of the year as well as
 7     a forecasted timeline and amounts for 2022."
 8                 "You also mentioned last time we spoke that you
 9     were negotiating an updated retainer for Alley. Do you have
10     an update on this? Could you please provide us with more
11     information on this?
12                 "It is also important to note that Alley does not
13     provide a lot of detail on their invoices. As mentioned
14     before, I will need extensive detail with a breakout of hours
15     consumed, a detailed breakout by project, DTC, Watch, Bets,
16     UHD, and what stage each is in (planning, product backlog
17     grooming, development, quality assurance testing, client
18     feedback, documentation). Could you please provide us with a
19     contact at Alley to help us answer these questions."
20     Q.    Okay. I want to ask you just about a few parts of this
21     and then turn to your response.
22                 The date of this email is -- it's in October,
23     correct?
24     A.    Correct.
25     Q.    So in the first paragraph that you send to Mr. Legassa,
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 166 of 185
                                                                         166




 1     you're asking again about extra work?
 2     A.     Correct.
 3     Q.     And what is the extra work that you're asking about?
 4     A.     The additional work not covered in Statement of Work
 5     Number 2, the 57K retainer.
 6     Q.     That NESN was being billed for?
 7     A.     Yes.
 8     Q.     Okay. And then there's mention of an updated retainer.
 9     Is that along the lines of the updated or upgraded retainer
10     that we were -- that you were testifying to a few moments
11     ago?
12     A.     Yes.
13     Q.     And had you received an update on that possibility at
14     this time?
15     A.     No.
16     Q.     Okay. Let's take a look at your response -- or Ariel's
17     response, Mr. King. I'll read it and then ask you a few
18     questions:
19                   He writes, "Hello Paul, I'll set up a call to
20     respond to your questions. The extra work is divided into
21     two, web and engineering. This work has separate invoices
22     and vendor coding. The retainer does not include the extra
23     work.
24                   "I'll ask for detailed info, as well as give you
25     access to what we assign Alley to do weekly.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 167 of 185
                                                                         167




 1                   "I'll need your help assigning the work since
 2     currently I'm swamped and the level of detail is a lot of
 3     extra documentation for us.
 4                   "Happy to help as much as I can."
 5                   So Mr. Legassa noted that he would provide you
 6     access to what we were asking Alley to do weekly. Did he do
 7     that?
 8     A.    No.
 9     Q.    In connection -- one of the things that you asked for in
10     your email, Mr. King, was a contact at Alley New York; is
11     that right?
12     A.    Correct.
13     Q.    Or Alley Interactive. Excuse me.
14                   Did you receive that contact in this response?
15     A.    No.
16     Q.    Did you ever receive a contact from Mr. Legassa at Alley
17     Interactive?
18     A.    No.
19     Q.    And were you ever able to speak with anyone at Alley
20     Interactive?
21     A.    No.
22     Q.    Okay.
23                   MR. SALTZMAN: Can I have Exhibit 129, please? For
24     the witness only.
25
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 168 of 185
                                                                         168




 1     BY MR. SALTZMAN:
 2     Q.    Do you recognize this document?
 3     A.    Yes.
 4     Q.    And what is it?
 5     A.    It's an email chain between Ariel, myself, and Mary.
 6                  MR. SALTZMAN: I'd offer Exhibit 129.
 7                  MR. PARKER: No objection.
 8                  THE COURT: 129 is admitted.
 9                  (Exhibit 129 admitted into evidence.)
10                  MR. SALTZMAN: Thank you.
11     BY MR. SALTZMAN:
12     Q.    So the subject -- well, the subject is "Open 2022 Budget
13     Items." And it's a November email chain. What does that
14     mean, "open 2022 budget items," Mr. King?
15     A.    The questions I had in regards to the upcoming 2022
16     budget.
17     Q.    Okay. And if we can scroll down to your email --
18                  MR. SALTZMAN: Great. Thank you, Ms. Hallagan.
19     BY MR. SALTZMAN:
20     Q.    So what -- what is an open budget item?
21     A.    An open budget item is, you know, we still needed to get
22     the appropriate numbers and backup for the upcoming --
23     upcoming year.
24     Q.    Again, we have the black and blue text here. What does
25     that represent?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 169 of 185
                                                                         169




 1     A.    The black text are my questions for Ariel, and the blue
 2     text are Ariel's responses.
 3     Q.    Okay. I'm only going to ask you about one of these, the
 4     Alley one. And if you could read the question, and then I'll
 5     read the response.
 6     A.    "Alley: 2022 retainer costs; currently have an estimate
 7     of 1 million. Is this still an accurate estimate?"
 8     Q.    So when you say an estimate of 1 million, is that for the
 9     2022 budget?
10     A.    Correct.
11     Q.    Okay. And then the response is, "Let's budget 1.5 for
12     Alley, considering DTC, Watch, and possible new work."
13                 So what Alley entity did you understand that you
14     were discussing in this exchange?
15     A.    The entity that we contracted with, Alley New York.
16     Q.    And what was Mr. Legassa asking that you do with the
17     budged amount?
18     A.    Increase the budget amount.
19     Q.    To one and a half million?
20     A.    Correct.
21     Q.    Okay. And what did you do with this request?
22     A.    I increased the budget.
23     Q.    Let's take a look at the top email. And Mr. Legassa
24     responds, "Thank you so much, Paul. You rock." Four
25     exclamation points.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 170 of 185
                                                                         170




 1                  How often did you receive messages like this from
 2     Mr. Legassa?
 3                  MR. PARKER: Objection.
 4                  THE COURT: Sustained.
 5                  THE WITNESS: Never.
 6                  THE COURT: The objection was sustained.
 7                  THE WITNESS: Oh, sorry.
 8                  THE COURT: That means there's no question there.
 9                  THE WITNESS: Sorry.
10                  MR. SALTZMAN: Move on.
11                  THE COURT: The answer is stricken.
12                  MR. SALTZMAN: Let's have Exhibit 130, please. For
13     the witness only. Thank you.
14     BY MR. SALTZMAN:
15     Q.    Do you recognize this document?
16     A.    Yes.
17     Q.    What is it?
18     A.    It's an email chain between Ariel and myself.
19                  MR. SALTZMAN: I'd offer Exhibit 130.
20                  MR. PARKER: No objection.
21                  THE COURT: 130 is admitted.
22                  (Exhibit 130 admitted into evidence.)
23                  MR. SALTZMAN: Thank you.
24     BY MR. SALTZMAN:
25     Q.    The subject of the email is "Bandwidth Projections."
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 171 of 185
                                                                         171




 1     What does that mean?
 2     A.    It's in regards to a vendor we were working with,
 3     Brightcove.
 4     Q.    Okay. And if we can scroll down to your email, Mr. King,
 5     on December 29, 2021, and I'm going to ask you about --
 6     again, we have this black and blue text. What does it
 7     represent?
 8     A.    The black is my questions for Ariel. The blue are his
 9     responses.
10     Q.    So let's --
11                 MR. SALTZMAN: If you could blow up, Ms. Hallagan,
12     the ClearBridge and Alley line item. Thank you.
13     BY MR. SALTZMAN:
14     Q.    If you could read your question and I'll read the
15     response.
16     A.    "ClearBridge and Alley -- do we have updated 2022 numbers
17     from them? Our latest estimate was 3 million ClearBridge
18     (80 percent Capex, 20 percent Opex) and 1 million Alley."
19     Q.    What are you asking about here?
20     A.    I'm asking for if the estimates are still accurate
21     estimates.
22     Q.    For the 2022 --
23     A.    The 2022 budget, yes.
24     Q.    And what appeared to have happened between the last email
25     and the email that we're viewing right now with respect to
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 172 of 185
                                                                         172




 1     the amount budgeted for Alley?
 2                  MR. PARKER: Objection.
 3                  THE WITNESS: It decreased.
 4                  THE COURT: I'm not sure I understood the question.
 5     Why don't you try it again.
 6                  MR. SALTZMAN: Sure.
 7     BY MR. SALTZMAN:
 8     Q.    So in the last email that we reviewed, you testified that
 9     the budget for Alley increased to 1½ million, right? And
10     here you're asking that the latest estimate is 1 million. So
11     I'm asking what happened between the previous email and this
12     email?
13     A.    It decreased.
14     Q.    Okay. And the response from Mr. Legassa is, "Please add
15     500K to Alley due to entitlement back-end work."
16                  So what is he asking you to do?
17     A.    Increase the budget.
18     Q.    Let's take a look at your email at the top of the chain.
19     And I'll just direct your attention, Mr. King, to that third
20     bullet point. And if you could please read it to the jury.
21     A.    "I added Adobe, the contract labor, and the 500K for
22     Alley."
23     Q.    So did you increase the budget back up to 1½ million for
24     Alley?
25     A.    Yes.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 173 of 185
                                                                         173




 1                  MR. SALTZMAN: We can take this down, please.
 2     BY MR. SALTZMAN:
 3     Q.    And the last email I want to show you is Exhibit 131,
 4     please.
 5                  MR. SALTZMAN: Just for the witness. Thank you.
 6     BY MR. SALTZMAN:
 7     Q.    Do you recognize it?
 8     A.    Yes.
 9     Q.    And what is it?
10     A.    It's an email chain between Ariel, myself, and Mary.
11                  MR. SALTZMAN: I'd offer Exhibit 131.
12                  MR. PARKER: I'm going to object to this email,
13     Your Honor.
14                  THE COURT: Okay. Let me take a look at it.
15                  (Beginning of sidebar.)
16                  MR. PARKER: Your Honor, my objection to this email
17     is this is January 5, 2022.
18                  THE COURT: I'm sorry. I missed that.
19                  MR. PARKER: The date of this email is January 5,
20     2022. Mr. Legassa was fired on January 6, 2022. I believe
21     that the Alley witness, Mr. Campeau-Laurion, testified that
22     it was, like, earlier in January when they brought the Alley
23     Connecticut discovery to the attention of NESN.
24                  What I think that NESN was trying to do with this
25     email -- this is not like a normal course of business email.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 174 of 185
                                                                         174




 1     They're setting up Mr. Legassa to make, essentially,
 2     incriminating statements or to further their investigation
 3     into the information that had been brought to their attention
 4     by Alley.
 5                 MR. SALTZMAN: Just to back up here. At the time,
 6     the defendant is still employed at NESN. This is an email
 7     exchange. These are his admissions. It's an admission by a
 8     party opponent. There's an exception to the hearsay rule.
 9                 I mean --
10                 THE COURT: So let me just cut this short. There's
11     two different issues here. One is that you can get in
12     business records without greater authentication by
13     establishing that they were kept in the normal course. We
14     don't have to worry about that here, because you have the
15     witness and you can inquire. So regardless of whether this
16     is a business record or not, if you can properly authenticate
17     that this is a true and accurate copy through his own
18     recollection, et cetera, you'll get that.
19                 But you'll have to make that foundation. It
20     doesn't meet the business record definition based on the
21     notion that this was maybe something created for litigation.
22                 Assuming you can get it past that business record
23     exception, then the statement does come in because it is an
24     exception to the hearsay rule because it's a party admission.
25                 (End of sidebar.)
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 175 of 185
                                                                         175




 1     BY MR. SALTZMAN:
 2     Q.    So, Mr. King, I -- just start from the top. Is -- do you
 3     recognize this document?
 4     A.    Yes.
 5     Q.    And what is it?
 6     A.    It's an email chain between Ariel, myself, and Mary.
 7     Q.    And does NESN keep emails and maintain emails like this
 8     in the ordinary course of business?
 9     A.    Yes. We keep record of our emails.
10     Q.    And does this email accurately describe the communication
11     that you had on that date?
12     A.    Yes.
13                  MR. SALTZMAN: I'd offer Exhibit 131.
14                  MR. PARKER: I object, Your Honor.
15                  THE COURT: I'll hear you out.
16                  (Beginning of sidebar.)
17                  THE COURT: Why isn't that sufficient if he
18     testifies that he recognizes the document?
19                  MR. PARKER: I thought that what Mr. Saltzman was
20     doing --
21                  THE COURT: I can't hear you. You have to
22     get closer.
23                  MR. PARKER: Okay. Can you hear me now?
24                  THE COURT: Now, I can.
25                  MR. PARKER: Okay. I thought that what Saltzman
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 176 of 185
                                                                         176




 1     was doing was marching through the business record
 2     qualification.
 3                 THE COURT: So he did ask additional questions as
 4     to the usual course that he didn't need to ask, and that's
 5     the business record exception.
 6                 The question I'm asking -- I allowed him to ask
 7     that was included in there, included was, did he recognize
 8     this email? He got a slightly equivocal answer, but I think
 9     that's enough.
10                 If you think this is a doctored document, I will
11     allow you voir dire him on the specifics. You know, emails
12     can be tampered with, but short of that -- and I'll allow you
13     to voir dire him in between, before proceeding. But short of
14     it being a doctored document or a suggestion that it might
15     be, I think he's saying he recognizes it enough to move on to
16     the next thing.
17                 MR. PARKER: Okay. I've got no reason to think
18     it's a doctored document and --
19                 THE COURT: Okay. So your objection is noted, but
20     I'm going to let it in.
21                 (End of sidebar.)
22                 THE COURT: So I think we left with your moving it
23     into evidence and 131 is admitted into evidence and may be
24     shown to the jury.
25                 (Exhibit 131 admitted into evidence.)
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 177 of 185
                                                                         177




 1     BY MR. SALTZMAN:
 2     Q.    So, Mr. King, what's the date of this email chain?
 3     A.    January 5, 2022.
 4     Q.    And what's the subject?
 5     A.    "Alley Interactive."
 6     Q.    And at the time, what Alley entity did you understand
 7     Alley Interactive to be?
 8     A.    The entity that we contracted with, Alley New York.
 9     Q.    And the master of services agreement?
10     A.    Uh-huh, yes.
11     Q.    Can I ask you to please read your email at the bottom of
12     the chain?
13     A.    "Hi Ariel, for Alley Interactive, per SOW Number 2, they
14     should be providing backup for all the overage work. Could
15     you please reach out so that we can have record of that
16     detail so that we are sure everything is classified correctly
17     for 2021 and going forward."
18     Q.    Did Ariel Legassa respond to your email?
19     A.    Yes.
20     Q.    And he -- I'll read his response and then ask you -- so
21     he responds at 4:33 p.m., "I will request the details. We
22     asked them for a lot of last-minute projects. When you said
23     backup, what exactly do you need?"
24                  And then there's another reply from Mr. Legassa
25     approximately eleven minutes later, "Thank you for the
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 178 of 185
                                                                         178




 1     explanation, Paul. I'll ask for a more detailed work
 2     description. It will take me a while since I need to review
 3     every sprint we worked on and ask them for the info.
 4                  "If I ask them for the info, they will stop working
 5     for DTC and allocate the PM resource to this."
 6                  What is PM?
 7     A.    Project managing.
 8     Q.    So there's a gap -- or there's an 11-minute time
 9     difference between these two emails. Do you agree with that?
10     A.    Yes.
11     Q.    What, if anything, took place in those eleven minutes?
12     A.    Ariel came over to my desk.
13     Q.    What happened when he came over to your desk?
14     A.    I asked him that -- for the necessary backup and he said
15     that he would provide --
16                  MR. PARKER: Objection.
17                  THE COURT: I'll allow it.
18     BY MR. SALTZMAN:
19     Q.    Let me back up. What happened when he came to your desk?
20     A.    I asked him that we needed the necessary backup for the
21     overage work, and he said he would provide me with that
22     documentation.
23     Q.    What did you make of the fact that he came to your desk?
24                  MR. PARKER: Objection.
25                  THE COURT: Sustained.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 179 of 185
                                                                         179




 1                  THE WITNESS: Strange. It was --
 2                  THE COURT: I sustained the objection.
 3                  THE WITNESS: Sorry.
 4                  THE COURT: Strike the answer. The answer is
 5     stricken.
 6     BY MR. SALTZMAN:
 7     Q.    So you are asking him -- in this email chain, you're
 8     asking him for additional documentation, right?
 9                  MR. PARKER: Objection. Speaks for itself and
10     we've been through it.
11                  THE COURT: He's -- I will allow it.
12                  MR. SALTZMAN: I'm trying to --
13     BY MR. SALTZMAN:
14     Q.    And you had previously testified that, in other
15     instances, you had also asked for additional documentation,
16     Mr. King?
17     A.    Yes.
18     Q.    In those instances, did Mr. Legassa ever come to your
19     desk to provide you with an explanation?
20                  MR. PARKER: Objection.
21                  THE COURT: Sustained. I think we should move on.
22                  MR. SALTZMAN: Okay.
23     BY MR. SALTZMAN:
24     Q.    So this email exchange took place on January 5, 2022? Do
25     you know what happened to Mr. Legassa the next day?
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 180 of 185
                                                                         180




 1     A.    He was terminated.
 2                 MR. SALTZMAN: No further questions.
 3                 THE COURT: It's five minutes till 1:00, so I think
 4     we will wait till tomorrow morning for the cross-examination.
 5     But before I let the jury out, let me talk to the lawyers
 6     quickly about the schedule for tomorrow.
 7                 (Beginning of sidebar.)
 8                 THE COURT: So we have cross-exam of this witness,
 9     and then does the government have anything further?
10                 MS. QUEENIN: Yes, Your Honor. We have at least
11     two other witnesses, so I'm looking at tomorrow. I'm not
12     sure how long Mr. Parker intends to cross-examine our
13     financial expert for.
14                 THE COURT: Okay. I don't think between that --
15     the charge conference and closing arguments that -- or I just
16     don't think we're necessarily going to get to deliberations
17     tomorrow, so I'm going to tell the jury to come for
18     deliberations tomorrow, but tell them that there's a good
19     chance that they'll have it Friday and to clear their
20     calendars Friday.
21                 Any disagreement with that?
22                 MS. QUEENIN: No.
23                 MR. PARKER: No, no disagreement.
24                 THE COURT: Okay.
25                 (End of sidebar.)
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 181 of 185
                                                                         181




 1                 THE COURT: So for -- there's a chance that you'll
 2     have the case by Friday for deliberations. You never know.
 3     It depends on how the rest of the case comes in. But there's
 4     a chance. So please clear your calendars for Friday
 5     afternoon that you may need to stay long.
 6                 And the way -- the length of time you stay I will
 7     leave to the jury to decide once you start deliberations, but
 8     I don't need you to do that now. But I'd like you to
 9     allot -- I don't want to have people have to fight with
10     traffic in the Seaport, et cetera, but I do want you to stay
11     for the bulk of the afternoon once we start deliberating. So
12     please clear your calendars accordingly.
13                 My same instructions. Please don't discuss the
14     case with each other, with anyone else at home. Do not
15     discuss anyone associated with the case. I appreciate
16     everybody trying to get here at 9:00 in the morning. I
17     understand that the traffic is really bad, but as a courtesy
18     for everyone, again, we will be starting right at
19     nine o'clock, so please make sure you're here before 9:00 so
20     I can get you in and sitting down at 9:00.
21                 And with that, thank you for your attention today.
22                 All rise for the jury.
23                 (Jury not present.)
24                 THE COURT: You may be seated.
25                 The witness can step down.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 182 of 185
                                                                         182




 1                 Anything else we need to address today?
 2                 MS. QUEENIN: Can we just reiterate what the plan
 3     is for tomorrow? I just want to make sure we're clear.
 4                 THE COURT: So I am going to still try to get you
 5     the instructions that I am anticipating giving. And to the
 6     extent that you have objections to them and there's time to
 7     discuss it at 8:30, we will do that, as a preliminary matter;
 8     but, otherwise, we will do it later in the -- later in the
 9     day.
10                 But it sounds like we are likely -- given that you
11     have several more witnesses, I just don't think we're going
12     to be doing closing arguments tomorrow; and, therefore, I
13     will try to get you dealing with the jury instructions as
14     promptly as possible, but it's a chance that we'll be doing
15     things in the afternoon tomorrow.
16                 MS. QUEENIN: That's fine, Your Honor. Thank you.
17                 MR. SALTZMAN: Your Honor, if I may, in other
18     instances, I've had the courtesy afforded in that the defense
19     would let us know if the defendant was going to testify the
20     night before it happened. That night is tonight.
21                 I understand that he can maintain the
22     constitutional right until the very last moment. I get that;
23     but if it's a foregone issue, or if it's one way or another,
24     I would appreciate that courtesy. It's a courtesy we've been
25     affording to the defense.
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 183 of 185
                                                                         183




 1                 MR. PARKER: I might want to do that, but I can't.
 2     And part of the reason I can't is because it's a
 3     cat-and-mouse game with the government about who they're
 4     calling the next day. Campeau-Laurion wasn't in the email
 5     yesterday that I got in the evening. I didn't complain.
 6     I -- I wasn't going to do a lot with him anyway. I did it.
 7                 MS. QUEENIN: That's --
 8                 MR. PARKER: I don't -- they've got several other
 9     witnesses on their witness list. They've got Sean McGrail.
10     They've got Mary Breiter. I don't know if they're calling
11     them or not. They're going to call their summary -- and that
12     makes a difference. They are NESN witnesses.
13                 THE COURT: Okay. Who are you calling for
14     tomorrow?
15                 MS. QUEENIN: We need to discuss it, but it's
16     certainly not a cat-and-mouse game. And if that witness was
17     left out of an email, it was wholly inadvertent.
18                 THE COURT: So I would assume that if you came in
19     tomorrow and rested, that there's probably -- the defendant
20     would choose one tact on how to go, and if you brought both
21     of those witnesses, both the Mary Breiter and Sean McGrail,
22     that that might affect things differently. So I do think he
23     gets to know that, and maybe he also gets to know what
24     they're testifying to before he has to make that decision.
25                 And I don't see it as a cat-and-mouse game on
     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 184 of 185
                                                                         184




 1     either side, but it is the difficulties of putting on a trial
 2     and how things go. So --
 3                 MS. QUEENIN: We'll confer with each other,
 4     Your Honor, as we have been doing throughout the trial.
 5                 THE COURT: And I think the other thing to add on
 6     the schedule is that, either way, whether Mr. Legassa decides
 7     to testify or not to testify, I would need to colloquy him at
 8     some point about that decision. So that will be somewhere on
 9     the schedule.
10                 So anything else we need to address?
11                 MR. SALTZMAN: No, Your Honor.
12                 MR. PARKER: No, Your Honor.
13                 THE COURT: Okay. Thank you.
14                 THE DEPUTY CLERK: We are in recess.
15                 (Court in recess at 1:01 p.m.)
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     Case 1:22-cr-10038-IT Document 142 Filed 11/03/23 Page 185 of 185
                                                                         185




 1                        CERTIFICATE OF OFFICIAL REPORTER
 2

 3

 4                 I, Robert W. Paschal, Registered Merit Reporter and
 5     Certified Realtime Reporter, in and for the United States
 6     District Court for the District of Massachusetts, do hereby
 7     certify that pursuant to Section 753, Title 28, United States
 8     Code, the foregoing pages are a true and correct transcript
 9     of the stenographically reported proceedings held in the
10     above-entitled matter and that the transcript page format is
11     in conformance with the regulations of the Judicial
12     Conference of the United States.
13

14                                 Dated this 1st day of November, 2023.
15

16

17

18

19                                 /s/ Robert W. Paschal
                                   ____________________________
20
                                   ROBERT W. PASCHAL, RMR, CRR
21                                 Official Court Reporter
22

23

24

25
